       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 1 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 63 of 130


 1                                      COUNT ELEVEN
 2    VIOLATION OF THE GEORGIA STATE FALSE MEDICAID CLAIMS ACT
 3          219. Relator re-alleges and incorporate the allegations in paragraphs 1-218
 4    as if fully set forth herein. Additionally, Relator states that the course of conduct
 5    described in this Complaint was a nationwide practice of Medtronic. Medtronic
 6    conducts business in the State of Georgia.           Upon information and belief,
 7    Medtronic's actions described herein occurred in Georgia as well.
 8          220. This is a qui tam action brought by Relator and the State of Georgia to
 9    recover treble damages and civil penalties under the Georgia State False Medicaid
1O    Claims Act, Ga. Code Ann. § 49-4-168 et seq.
11          221. Ga. Code Ann. § 49-4-168.1 et seq. provides liability for any person
12    who-
13
            Knowingly presents or causes to be presented to the Georgia Medicaid
14          program a false or fraudulent claim for payment or approval;
15
            Knowingly makes, uses, or causes to be made or used, a false record or
16          statement to get a false or fraudulent claim paid or approved by the
17          Georgia Medicaid program;

18          Conspires to defraud the Georgia Medicaid program by getting a false
19          or fraudulent claim allowed or paid;

20          Knowingly makes, uses, or causes to be made or used, a false record or
21          statement to conceal, avoid, or decrease an obligation to pay, repay or
            transmit money or property to the State of Georgia.
22
23          222. Medtronic violated Ga. Code Ann. § 49-4-168. l and knowingly caused
24    hundreds of thousands of false claims to be made, used and presented to the State of
25    Georgia from 2001 to the present by its violation of federal and state laws,
26    including the Anti-Kickback Act and the Stark Act, as described herein.
27          223. The State of Georgia, by and through the Georgia Medicaid program
28    and other state health care programs, and unaware of Medtronic' s fraudulent and
                                          -63-
                        First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 2 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 64 of 130


      illegal practices, paid the claims submitted by health care providers and third party
 2    payers in connection therewith.
 3          224. Compliance with applicable Medicare, Medicaid and the various other
 4    federal and state laws cited herein was an implied, and upon information and belief,
 5    also an express condition of payment of claims submitted to the State of Georgia in
 6    connection with Medtronic's fraudulent and illegal practices.
 7          225. Had the State of Georgia known that Medtronic was violating the
 8    federal and state laws cited herein, it wound not have paid the claims submitted by
 9    health care providers and third party payers in connection with Medtronic's
1O    fraudulent and illegal practices.
11          226. As a result of Medtronic's violations of Ga. Code Ann. § 49-4-168.1,
12    the State of Georgia has been damaged in an amount far in excess of millions of
13    dollars exclusive of interest.
14          227. Medtronic did not, within 30 days after it first obtained information as
15    to such violations, furnish such information to officials of the State responsible for
16    investigating false claims violations, did not otherwise fully cooperate with any
17    investigation of the violations, and have not otherwise furnished information to the
18    State regarding the claims for reimbursement at issue.
19          228. Adolfo Schroeder is a private person with direct and independent
20    knowledge of the allegations of this Complaint, who has brought this action
21    pursuant to Ga. Code Ann., § 49-4-168.2(b) on behalf of himself and the State of
22    Georgia.
23          229. This Court is requested to accept supplemental jurisdiction of this
24    related state claim as it is predicated upon the exact same facts as the federal claim,
25    and merely asserts separate damage to the State of Georgia in the operation of its
26    Medicaid program.
27          230. WHEREFORE, Relator respectfully requests this Court to award the
28    following damages to the following parties against Medtronic:
                                              -64-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 3 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 65 of 130


 1          To the STATE OF GEORGIA:
 2          Three times the amount of actual damages which the State of Georgia has
 3          sustained as a result of Medtronic's fraudulent and illegal practices;
 4          A civil penalty on not less then $5,500 and not more than$ 11,000 for each
 5          false claim which Medtronic caused to be presented to the State of Georgia;
 6          Prejudgment interest; and
 7          All costs incurred in bringing this action.
 8          To RELATOR:
 9          The maximum amount allowed pursuant to Ga. Code Ann.,§ 49-4-168.2(i),
10    and/or any other applicable provision of law;
11          Reimbursement for reasonable expenses which Relator incurred in
12    connection with this action;
13          An award of reasonable attorneys' fees and costs; and
14          Such further relief as this Court deems equitable and just.
15                                      COUNT TWELVE
16                VIOLATION OF THE HAWAII FALSE CLAIMS ACT
17          231. Relator re-alleges and incorporate the allegations in paragraphs 1-230
18    as if fully set forth herein. Additionally, Relator states that the course of conduct
19    described in this Complaint was a nationwide practice of Medtronic. Medtronic
20    conducts business in the State of Hawaii.            Upon information and belief,
21    Medtronic's actions described herein occurred in Hawaii as well.
22          232. This is a qui tam action brought by Relator and the State of Hawaii to
23    recover treble damages and civil penalties under the Hawaii False Claims i\.ct,
24    Haw. Rev. Stat.§ 661.21 et seq.
25          233. Haw. Rev. Stat.§ 661-21(a) provides liability for any person who-
26
            Knowingly presents, or causes to be presented, to an officer or
27          employee of the state a false or fraudulent claim for payment or
28          approval;

                                          -65-
                        First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 4 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 66 of 130


 1
             Knowingly makes, uses, or causes to be made or used, a false record or
 2           statement to get a false or fraudulent claim paid or approved by the
             state;
 3

 4           Conspires to defraud the state by getting a false or fraudulent claim
             allowed or paid; or
 5

 6           Is a beneficiary of an inadvertent submission of a false claim to the
             State, who subsequently discovers the falsity of the claim, and fails to
 7
             disclose the false claim to the State within a reasonable time after
 8           discovery of the false claim.
 9           234. Medtronic violated Haw. Rev. Stat. § 661.21(a) and knowingly caused
10    hundreds of thousands of false claims to be made, used and presented to the State of
11    Hawaii from at least 2001 to the present by its violation of federal and state laws,
12    including the Anti-Kickback Act, and Stark Act, as described herein.
13           235. The State of Hawaii, by and through the Hawaii Medicaid program
14    and other state health care programs, and unaware of Medtronic's fraudulent and
15    illegal practices, paid the claims submitted by health care providers and third paiiy
16    payers in connection therewith.
17           236. Compliance with applicable Medicare, Medicaid and the various other
18    federal state laws cited herein was an implied, and upon information and belief, also
19    an express condition of payment of claims submitted to the State of Hawaii in
20    connection with Medtronic's fraudulent and illegal practices.
21           237. Had the State of Hawaii known that Medtronic was violating the
22    federal and state laws cited herein, it would not have paid the claims submitted by
23    health care providers and third party payers in connection with Medtronic' s
24    fraudulent and illegal practices.
25          238. As a result of Medtronic's violations of Haw. Rev. Stat. § 661-21(a)
26    the State of Hawaii has been damaged in an amount far in excess of millions of
27    dollars exclusive of interest.
28          239. Adolfo 'Schroeder is a private person with direct and independent

                                            -66-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 5 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 67 of 130


      knowledge of the allegations of this Complaint, who has brought this action
 2    pursuant to Haw. Rev. Stat. § 661-25(a) on behalf of himself and the State of
 3    Hawaii.
 4          240. This Court is requested to accept supplemental jurisdiction of this
 5    related state claim as it is predicated upon the exact same facts as the federal claim,
 6    and merely asserts separate damage to the State of Hawaii in the operation of its
 7    Medicaid program.
 8          241. WHEREFORE, Relator respectfully requests this Court to award the
 9    following damages to the following parties and against Medtronic:
10          To the STATE OF HAWAII:
11          Three times the amount of actual damages which the State of Hawaii has
12          sustained as a result of Medtronic's fraudulent and illegal practices;
13          A civil penalty of not less than $5,000 and not more than $10,000 for each
14          false claim which Medtronic caused to be presented to the State of Hawaii;
15          Prejudgment interest; and
16          All costs incurred in bringing this action.
17          To RELATOR:
18          The maximum amount allowed pursuant to Haw. Rev. Stat.§ 661-27 and /or
19          any other applicable provision of law;
20          Reimbursement for reasonable expenses which Relator incurred in
21          connection with this action;
22          An award of reasonable attorneys' fees and costs; and
23          Such further relief as this Court_deems equitable and just.
24                                   COUNT THIRTEEN
25      VIOLATION OF THE ILLINOIS WHISTLEBLOWER REWARD AND
26                                   PROTECTION ACT
27          242. Relator re-alleges and incorporate the allegations in paragraphs 1-241
28    as if fully set forth herein. Additionally, Relator states that the course of conduct
                                           -67-
                         First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 6 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 68 of 130


 1    described in this Complaint was a nationwide practice of Medtronic.          Medtronic
 2    conducts business in the State of Illinois. Upon information and belief, Medtronic's
 3    actions described herein occurred in Illinois as well.
 4          243. This is a qui tam action brought by Relator and the State of Illinois to
 5    recover treble damages and civil penalties under the Illinois Whistleblower Reward
 6    and Protection Act, 740 ILCS 175 et seq.
 7          244. 740 ILCS l 75/3(a) provides liability for any person who-
 8
            Knowingly presents, or causes to be presented, to an officer or
 9          employee of the State of a member of the Guard a false or fraudulent
10          claim for payment or approval;

11          Knowingly makes, uses, of causes to be made or used, a false record or
12          statement to get a false or fraudulent claim paid or approved by the
            State;
13

14          Conspires to defraud the State by getting a false or fraudulent claim
            allowed or paid.
15

16          245. In addition, 305 ILCS 5/8A-3(b) of the Illinois Public Aid Code
                                                                                                  1
17    (Vendor Fraud and Kickbacks) prohibits the solicitation or receipt of any
18    remuneration, including any kickback, bribe or rebate, directly or indirectly, overtly
19    or covertly, in cash or in kind in return for furnishing any item of service for which
20    payment may be made in whole or in part under the Illinois Medicaid program.
21          246. Medtronic violated 305 ILCS 5/8A-3(b) from at least 2001 to the
22    present by engaging in the fraudulent and illegal practices described herein.
23          247. Medtronic furthermore violated 740 ILCS l 75/3(a) and knowingly
24    caused hundreds of thousands of false claims to be made, used and presented to the
25    State of Illinois from at least 2001 to the present by its violation of federal and state
26    laws, including 305 ILCS 5/8A-3(b), the Anti-Kickback Act and the Stark Act, as
27    described herein.
28          248. The State of Illinois, by and through the Illinois Medicaid program and
                                            -68-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 7 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 69 of 130


 1    other state health care programs, and unaware of Medtronic's fraudulent and illegal
 2    practices, paid the claims submitted by health care providers and third party payers
 3    in connection therewith.
 4          249. Compliance with applicable Medicare, Medicaid and the various other
 5    federal and state laws cited herein with an implied, and upon information and
 6    belief, also an express condition of payment of claims submitted to the State of
 7    Illinois in connection with Medtronic's fraudulent and illegal practices.
 8          250. Had the State of Illinois known that Medtronic was violating the
 9    federal and state laws cited herein, it would not have paid the claims submitted by
IO    health care providers and third paiiy payers in connection with Medtronic's
11    fraudulent and illegal practices.
12          251. As a result of Medtronic's violations of 740 ILCS l 75/3(a), the State
13    of Illinois has been damaged in an amount far in excess of millions of dollars
14    exclusive of interest.
15          252. Adolfo Schroeder is a private person with direct and independent
16    knowledge of the allegation of this Complaint, who has brought this action pursuant
17    to 740 ILCS 175/3(b) on behalf of himself and the State of Illinois.
18          253. This court is requested to accept supplemental jurisdiction of this
19    related state claim as it is predicated upon the exact same facts as the federal claim,
20    and merely asserts separate damage to the State of Illinois in the operation of its
21    Medicaid program.
22          254. WHEREFORE, Relator respectfully requests this Court to award the
23    following damages to the following parties and against :f\Aedtronic:
24          To the STATE OF ILLINOIS:
25          Three times the amount of actual damages which the State of Illinois has
26          sustained as a result of Medtronic' s fraudulent and illegal practices;
27          A civil penalty of not less than $5,000 and not more than $10,000 for each
28          false claim which Medtronic caused to be presented to the State of Illinois;
                                            -69-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 8 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 70 of 130


 1          Prejudgment interest; and
 2          All costs incurred in bringing this action.
 3          To RELATOR:
 4          The maximum amount allowed pursuant to 740 ILCS/4(d) and/or any other
 5          applicable provision of law;
 6          Reimbursement for reasonable expenses which Relator incurred in
 7          connection with this action;
 8          An award of reasonable attorneys' fees and costs; and
 9          Such further relief as this Court deems equitable and just.
10                                   COUNT FOURTEEN
11               VIOLATION OF THE INDIANA FALSE CLAIMS AND
12                       WHISTLEBLOWER PROTECTION ACT
13          255. Relator re-alleges and incorporate the allegations in paragraphs 1-254
14    as if fully set forth herein. Additionally, Relator states that the course of conduct
15    described in this Complaint was a nationwide practice of Medtronic.         Medtronic
16    conducts business in the State of Indiana.           Upon information and belief,
17    Medtronic's actions described herein occurred in Indiana as well.
18          256. This is a qui tam action brought by Relator and the State of Indiana to
19    recover treble damages and civil penalties under the Indiana False Claims and
20    Whistleblower Protection Act, IC 5-11-5.5 et seq.
21          257. IC 5-11-5 .5-2 provides liability for any person who-
22          ( 1) presents a false claim to the state for payment or approval;

23          (2) makes or uses a false record or statement to obtain payment or
24          approval of a false claim from the state;

25          (3) with intent to defraud the state, delivers less money or property to
26          the state than the amount recorded on the certificate or receipt the
            person receives from the state;
27

28    Ill

                                          -70-
                        First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 9 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 71 of 130


 1
            (4) with intent to defraud the state, authorizes issuance of a receipt
 2          without knowing that the information on the receipt is true;

 3
            (5) receives public property as a pledge of an obligation on a debt from
 4          an employee who is not lawfully authorized to sell or pledge the
            property;
 5

 6          ( 6) makes or uses a false record or statement to avoid an obligation to
            pay or transmit property to the state;
 7

 8          (7) conspires with another person to perform an act described in
            subdivisions (1) through (6); or
 9

10          (8) causes or induces another person to perform an act described in
            subdivisions (1) through (6).
11

12          258. In addition, IC 12-15-24-1 & IC 12-15-24-2 prohibits the provision of
13    a kickback or bribe in connection with the furnishing of items or services or the
14    making or receipt of the payment under the Indiana Medicaid program.
15          259. Medtronic violated IC 12-15-24-1 & IC 12-15-24-2 from at least 2001
16    to the present by engaging in the fraudulent and illegal practices described herein.
17          260. Medtronic furthermore violated IC 5-11-5.5-2 and knowingly caused
18    hundreds of thousands of false claims to be made, used and presented to the State of
19    Indiana from at least 2001 to the present by its violation of federal and state laws,
20    including IC 12-15-24-1 & IC 12-15-24-2, the Anti-Kickback Act and the Stark
21    Act, as described herein.
22          261. The State of Indiana, by and through the Indiana Medicaid program
23    and other state health care programs, and unaware of Medtronic' s fraudulent and
24    illegal practices, paid the claims submitted by health care providers and third party
25    payers in connection therewith.
26          262. Compliance with applicable Medicare, Medicaid and the various other
27    federal and state laws cited herein with an implied, and upon information and
28

                                           -71-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 10 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 72 of 130


 1    belief, also an express condition of payment of claims submitted to the State of
 2    Indiana in connection with Medtronic's fraudulent and illegal practices.
 3          263. Had the State of Indiana known that Medtronic was violating the
 4    federal and state laws cited herein, it would not have paid the claims submitted by
 5    health care providers and third party payers in connection with Medtronic's
 6    fraudulent and illegal practices.
 7          264. As a result of Medtronic's violations of IC 5-11-5.5-2, the State of
 8    Indiana has been damaged in an amount far in excess of millions of dollars
 9    exclusive of interest.
IO          265. Adolfo Schroeder is a private person with direct and independent
11    knowledge of the allegation of this Complaint, who has brought this action pursuant
12    to IC 5-11-5.5-4 on behalf of himself and the State of Indiana.
13          266. This court is requested to accept supplemental jurisdiction of this
14    related state claim as it is predicated upon the exact same facts as the federal claim,
15    and merely asserts separate damage to the State of Indiana in the operation of its
16    Medicaid program.
17          267. WHEREFORE, Relator respectfully requests this Court to award the
18    following damages to the following parties and against Medtronic:
19          To the STATE OF INDIANA:
20          Three times the amount of actual damages which the State of Indiana has
21          sustained as a result of Medtronic' s fraudulent and illegal practices;
22          Prejudgment interest; and
23          i\Jl costs incurred in bringing this action.
24          To RELATOR:
25          The maximum amount allowed pursuant to IC 5-11-5.5-6 and/or any other
26          applicable provision of law;
27          Reimbursement for reasonable expenses which Relator incurred in
28          connection with this action;
                                           -72-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 11 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 73 of 130


 1              An award of reasonable attorneys' fees and costs; and
 2              Such further relief as this Court deems equitable and just.
 3                                        COUNT FIFTEEN
 4    VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE PROGRAMS
 5                                       INTEGRITY LAW
 6              268. Relator re-alleges and incorporate the allegations in paragraphs 1-267
 7    as if fully set forth herein. Additionally Additionally, Relator states that the course
 8    of conduct described in this Complaint was a nationwide practice of Medtronic.
 9    Medtronic conducts business in the State of Louisiana.             Upon information and
10    belie±~   Medtronic's actions described herein occmTed in Louisiana as well.
11              269. This is a qui tam action brought by Relator and the State of Louisiana
12    to recover treble damages and civil penalties under the Louisiana Medical
13    Assistance Programs Integrity Law, La Rev. Stat. Ann§ 437.1 et seq.
14              270. La. Rev. Stat. Ann. § 438.3 provides
15              No person shall knowingly present or cause to be presented a false or
16              fraudulent claim;
17              No person shall knowingly engage in misrepresentation to obtain, or
18              attempt to obtain, payment from medial assistance programs funds;
19              No person shall conspire to defraud, or attempt to defraud, the medical
20              assistance programs through misrepresentation or by obtaining, or
21              attempting to obtain, payment for a false or fraudulent claim;
22              271. In addition, La. Rev. Stat. Ann.§ 438.2(A) prohibits the solicitation,
23    receipt, offering or payment of any financial inducements, including kickbacks,
24    bribes, rebated, etc., directly or indirectly, overtly or covertly, in cash or in kind, for
25    furnishing health care goods or services paid for in whole or in part by the
26    Louisiana medical assistance programs.
27              272. Medtronic violated La. Rev. Stat. Ann§ 438.2(A) from at least 2001 to
28    the present by engaging in the fraudulent and illegal practices described herein.
                                              -73-
                            First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 12 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 74 of 130


            273. Medtronic furthermore violated La. Rev. Stat. Ann. § 438.3 and
 2    knowingly caused hundreds of thousands of false claims to be made, used and
 3    presented to the State of Louisiana from at least 2001 to the present by its violation
 4    of federal and state laws, including La. Rev. Stat. Ann. § 438.2(A), the Anti-
 5    Kickback Act and Stark Act, as described herein.
 6          274. The State of Louisiana, by and through the Louisiana Medicaid
 7    program and other state health care programs, and unaware of Medtronic's
 8    fraudulent and illegal practices, paid the claims submitted by health care providers
 9    and third party payers in connection therewith.
10          275. Compliance with applicable Medicare, Medicaid and the various other
11    federal and state laws cited herein was an implied, and upon infonnation and belief,
12    also an express condition of payment of claims submitted to the State of Louisiana
13    in connection with Medtronic's fraudulent and illegal practices.
14          276. Had the State of Louisiana known that Medtronic was violating the
15    federal and state laws cited herein, it would not have paid the claims submitted by
16    health care providers and third party payers in connection with Medtronic'ss
17    fraudulent and illegal practices.
18          277. As a result ofMedtronic's violations of La. Rev. Stat. Ann.§ 438.3 the
19    State of Louisiana has been damaged in an amount far in excess of millions of
20    dollars exclusive of interest.
21          278. Adolfo Schroeder is a private person with direct and independent
22    knowledge of the allegations of this Complaint, who has brought this action
23    pursuant to La. Rev. Stat. Ann. § 439.l(A) on behalf of himself and the State of
24    Louisiana.
25          279. This Court is requested to accept supplemental jurisdiction of this
26    related state claim as it is predicated upon the exact same facts as the federal claim,
27    and merely asse1is separate damage to the State of Louisiana in the operation of its
28    Medicaid program.
                                            -74-
                          First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 13 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 75 of 130


 1          280. WHEREFORE, Relator respectfully requests this Court to award the
 2    following damages to the following parties and against Medtronic:
 3          To the STATE OF LOUISIANA:
 4          Three times the amount of actual damages which the State of Louisiana has
 5           sustained as a result of Medtronic's fraudulent and illegal practices;
 6          A civil penalty of not less than $5,000 and not more than $10,000 for each
 7          false claim which Medtronic caused to be presented to the State of Louisiana;
 8          Prejudgment interest; and
 9          All costs incurred in bringing this action.
10          To RELATOR:
11          The maximum amount allowed pursuant to La. Rev. Stat.§ 439.4(A) and/or
12          any other applicable provision of law;
13          Reimbursement for reasonable expenses which Relator incurred in
14          connection with this action;
15          An award or reasonable attorneys' fees and costs; and
16          Such further relief as this Court deems equitable and just.
17                                     COUNT SIXTEEN
18          VIOLATION OF THE MASSACHUSETTS FALSE CLAIMS ACT
19          281. Relator re-alleges and incorporate the allegations in paragraphs 1-280
20    as if fully set forth herein. Additionally, Relator states that the course of conduct
21    described in this Complaint was a nationwide practice of Medtronic.         Medtronic
22    conducts business in the Commonwealth of Massachusetts. Upon information and
23    belief, Medtronic's actions described herein occurred in Massachusetts as well.
24          282. This is a qui tam action brought by Relator and State of Massachusetts
25    for treble damages and penalties under Massachusetts False Claims Act, Mass. Gen.
26    Laws Ann. Chap 12 § 5(A) et seq.
27          283. Mass. Gen. Laws Ann. Chap 12 § 5B provides liability for any person
28    who-
                                           -75-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 14 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 76 of 130


 1          Knowingly presents, or causes to be presented, a false or fraudulent
 2          claim for payment or approval;
 3          Knowingly makes, uses, or causes to be made or used, a false record or
 4          statement to obtain payment or approval of a claim by the
 5          commonwealth or any political subdivision thereof;
 6          Conspires to defraud the commonwealth or any political subdivision
 7          thereof through the allowance or payment of a fraudulent claim;
 8          ls a beneficiary of an inadvertent submission of a false claim to the
 9          common wealth or political subdivision thereof,                   subsequently
1O          discovers the falsity of the claim, and fails to disclose the false claim
11          to the commonwealth or political subdivision within a reason able time
12          after discovery of the false claim.
13          284. In addition, Mass. Gen. Laws Ann. Chap. l 18E § 41 prohibits the
14    solicitation, receipt or offering of any remuneration, including any bribe ore rebate,
15    directly or indirectly, overtly or covertly, in cash or in kind in return for furnishing
16    any good, service or item for which payment may be made in whole or in part under
17    the Massachusetts Medicaid program.
18          285. Medtronic violated Mass. Gen. Laws Ann. Chap. l 18E § 41 from at
19    least 2001 to the present by engaging in the fraudulent and illegal practices
20    described herein.
21          286. Medtronic furthermore violated Mass. Gen. Laws Ann. Chap 12 § 5B
22    and knowingly caused hundreds of thousands of false claims to be made, used and
23    presented to the State of Massachusetts from at least 2001 to the present by its
24    violation of federal and state laws, including Mass. Gen. Laws Ann. Chap. l l 8E §
25    41, the Anti-Kickback Act and the Stark Act, as described herein.
26          287. The State of Massachusetts, by and through the Massachusetts
27    Medicaid program and other state health care programs, and unaware of
28    Medtronic' s fraudulent and illegal practices, paid the claims submitted by health
                                             -76-
                          First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 15 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 77 of 130


 1    care providers and third party payers in connection therewith.
 2          288. Compliance with applicable Medicare, Medicaid and the various other
 3    federal and state laws cited herein was an implied, and upon information and belief,
 4    also an express condition of payment of claims submitted to the State of
 5    Massachusetts in connection with Medtronic' s fraudulent and illegal practices.
 6          289. Had the State of Massachusetts known that Medtronic was violating
 7    the federal and state laws cited herein, it would not have paid the claims submitted
 8    by health care providers and third party payers in connection with Medtronic's
 9    fraudulent and illegal practices.
10          290. As a result of Ivledtronic's violatons of Mass. Gen. Laws Ann. Chap.
11    12 § 5B the State of Massachusetts has been damaged in an amount far in excess of
12    millions of dollars exclusive of interest.
13          291. Adolfo Schroeder is a private person with direct and independent
14    knowledge of the allegations of the Compliant, who has brought this action
15    pursuant to Mass. Gen. Laws Ann Chap. 12 § 5(c(2) on behalf of himself and the
16    State of Massachusetts.
17          292. This Court is requested to accept supplemental jurisdiction of this
18    related state claim as it is predicated upon that exact same facts as the federal claim,
19    and merely asserts separate damage to the State of Massachusetts in the operation
20    of its Medicaid program.
21          293. WHEREFORE, Relator respectfully requests this Court to award the
22    following damages to the following parties and against Medtronic:
23          To the STATE OF MASSACHUSETTS:
24          Three times the amount of actual damages which that State of Massachusetts
25          has sustained as a result of Medtronic's fraudulent and illegal practices;
26          A civil penalty of not less than $5,000 and not more than $10,000 for each
27          false claim which Medtronic caused to be presented to the State of
28          Massachusetts;
                                           -77-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 16 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 78 of 130


 1          Prejudgment interest; and
 2          All costs incurred in bringing this action.
 3          To RELATOR:
 4          The maximum amount allowed pursuant to Mass. Gen. Laws Ann. Chap. 12
 5          § SF and/or any other applicable provision of law;
 6          Reimbursement for reasonable expenses which Relator incurred in
 7          connection with this action;
 8          An award of reasonable attorneys' fees and costs; and
 9          Such further relief as this Court deems equitable and just.
10                                  COUNT SEVENTEEN
11        VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIM ACT
12          294. Relator re-alleges and incorporate the allegations in paragraphs 1-293
13    as if fully set forth herein. Additionally, Relator states that the course of conduct
14    described in this Complaint was a nationwide practice of Medtronic.         Medtronic
15    conducts business in Michigan. Upon information and belief, Medtronic's actions
16    described herein occurred in Michigan as well.
17          295. This is a qui tam action brought by Relator and State of Michigan for
18    treble damages and penalties under Michigan Medicaid False Claim Act, M.C.L.A.
19    400.601 et seq.
20          296. M.C.L.A. 400.607 provides liability for any person who, among other
21    things-
22          Causes to be made or presented to an employee or officer of this state a
23          claim under the social welfare act, Act No. 280 of the Public Acts of
24          1939, as amended, being sections 400.1to400.121 of the Michigan
25          Compiled Laws, upon or against the state, knowing the claim to be false.
26          Presents or causes to be made or presented a claim under the social
27          welfare act, Act No. 280 of the Public Acts of 1939, which he or she
28          knows falsely represents that the goods or services for which the claim is
                                           -78-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 17 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 79 of 130


 1           made were medically necessary in accordance with professionally
 2           accepted standards.
 3           297. In addition, M.C.L.A. 400.604 prohibits the solicitation, receipt or
 4    offering of a kickback or bribe in connection with the furnishing of goods or
 5    services for which payment is or may be made in whole or in part pursuant to the
 6    Michigan Medicaid program.
 7           298. Medtronic violated M.C.L.A. 400.604 from at least 2001 to the present
 8    by engaging in the fraudulent and illegal practices described herein.
 9           299. Medtronic furthermore violated M.C.L.A. 400.607 and knowingly
1O    caused hundreds of thousands of false claims to be made, used and presented to the
11    State of Michigan from at least 2001 to the present by its violation of federal and
12    state laws, including M.C.L.A. 400.604, the Anti-Kickback Act and the Stark Act,
13    as described herein.
14           300. The State of Michigan, by and through the Michigan Medicaid
15    program and other state health care programs, and unaware of Medtronic' s
16    fraudulent and illegal practices, paid the claims submitted by health care providers
17    and third party payers in connection therewith.
18           301. Compliance with applicable Medicare, Medicaid and the various other
19    federal and state laws cited herein was an implied, and upon information and belief,
20    also an express condition of payment of claims submitted to the State of Michigan
21    in connection with Medtronic' s fraudulent and illegal practices.
22           302. Had the State of Michigan known that Medtronic was violating the
23    federal and state laws cited herein, it would not have paid the claims submitted by
24    health care providers and third party payers in connection with Medtronic's
25    fraudulent and illegal practices.
26          303. As a result of Medtronic's violations of M.C.L.A. 400.607 the State of
27    Michigan has been damaged in an amount far in excess of millions of dollars
28    exclusive of interest.
                                            -79-
                          First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 18 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 80 of 130


 1          304. Adolfo Schroeder 1s a private person with direct and independent
 2    knowledge of the allegations of the Compliant, who has brought this action
 3    pursuant to M.C.L.A. 400.61 Oa on behalf of himself and the State of Michigan.
 4          305. This Court is requested to accept supplemental jurisdiction of this
 5    related state claim as it is predicated upon that exact same facts as the federal claim,
 6    and merely asserts separate damage to the State of Michigan in the operation of its
 7    Medicaid program.
 8          306. WHEREFORE, Relator respectfully requests this Court to award the
 9    following damages to the following parties and against Medtronic:
10          To the STATE OF MICHIGAN:
11          All damages to which the State of Michigan is entitled pursuant to M.C.L.A.
12          400.612;
13          Civil penalties for each false claim which Medtronic caused to be presented
14          to the State of Michigan;
15          Prejudgment interest; and
16          All costs incurred in bringing this action.
17          To RELATOR:
18          The maximum amount allowed pursuant to M.C.L.A. 400.610a(9) and/or any
19          other applicable provision of law;
20          Reimbursement for reasonable expenses which Relator incurred in
21          connection with this action;
22          An award of reasonable attorneys' fees and costs; and
23          Such further relief as this Court deems equitable and just.
24                                   COUNT EIGHTEEN
25               VIOLATION OF THE MONTANA FALSE CLAIMS ACT
26          307. Relator re-alleges and incorporate the allegations in paragraphs 1-306
27    as if fully set forth herein. Additionally, Relator states that the course of conduct
28    described in this Complaint was a nationwide practice of Medtronic. Medtronic
                                           -80-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 19 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 81 of 130


 1    conducts business in Montana. Upon information and belief, Medtronic's actions
 2    described herein occurred in Montana as well.
 3           308. This is a qui tarn action brought by Relator and State of Montana for
 4    treble damages and penalties under Montana False Claims Act, MT ST 17-8-401 et
 5    seq.
 6           309. MT ST 17-8-403 provides liability for any person who-
 7           knowingly presenting or causing to be presented to an officer or
 8           employee of the governmental entity a false claim for payment or
 9           approval;
10           knowingly making, using, or causing to be made or used a false record or
11           statement to get a false claim paid or approved by the governmental
12           entity;
13           conspiring to defraud the governmental entity by getting a false claim
14           allowed or paid by the governmental entity.
15           310. In addition, MT ST 45-6-313 prohibits the solicitation, receipt or
16    offering any remuneration, including but not limited to a kickback, bribe, or rebate,
17    other than an amount legally payable under the medical assistance program, for
18    furnishing services or items for which payment may be made under the Montana
19    Medicaid program.
20           311. Medtronic violated MT ST 45-6-313 from at least 200 I to the present
21    by engaging in the fraudulent and illegal practices described herein.
22           312. Medtronic furthermore violated MT ST 17-8-403 and knowingly
23    caused hundreds of thousands of false claims to be made, used and presented to the
24    State of Montana from at least 200 I to the present by its violation of federal and
25    state laws, including MT ST 45-6-313, the Anti-Kickback Act and the Stark Act, as
26    described herein.
27           313. The State of Montana, by and through the Montana Medicaid program
28    and other state health care programs, and unaware of Medtronic's fraudulent and
                                            -81-
                          First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 20 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 82 of 130


      illegal practices, paid the claims submitted by health care providers and third party
 2    payers in connection therewith.
 3           314. Compliance with applicable Medicare, Medicaid and the various other
 4    federal and state laws cited herein was an implied, and upon information and belief,
 5    also an express condition of payment of claims submitted to the State of Montana in
 6    connection with Medtronic' s fraudulent and illegal practices.
 7          315. Had the State of Montana known that Medtronic was violating the
 8    federal and state laws cited herein, it would not have paid the claims submitted by
 9    health care providers and third party payers in connection with Medtronic's
1O    fraudulent and illegal practices.
11          316. As a result of Medtronic' s violations of MT ST 17-8-403 the State of
12    Montana has been damaged in an amount far in excess of millions of dollars
13    exclusive of interest.
14          317. Adolfo Schroeder is a private person with direct and independent
15    knowledge of the allegations of the Compliant, who has brought this action
16    pursuant to MT ST 17-8-406 on behalf of himself and the State of Montana.
17          318. This Court is requested to accept supplemental jurisdiction of this
18    related state claim as it is predicated upon that exact same facts as the federal claim,
19    and merely asserts separate damage to the State of Montana in the operation of its
20    Medicaid program.
21          319. WHEREFORE, Relator respectfully requests this Court to award the
22    following damages to the following parties and against Medtronic:
23          To the STATE OF MONTANA:
24          Three times the amount of actual damages which that State of Montana has
25          sustained as a result of Medtronic' s fraudulent and illegal practices;
26          A civil penalty of $10,000 for each false claim which Medtronic caused to be
27          presented to the State of Montana;
28          Prejudgment interest; and
                                           -82-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 21 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 83 of 130


 1          All costs incurred in bringing this action.
 2          To RELATOR:
 3          The maximum amount allowed pursuant to MT ST 17-8-410 and/or any
 4          other applicable provision of law;
 5          Reimbursement for reasonable expenses which Relator incurred in
 6          connection with this action;
 7          An award of reasonable attorneys' fees and costs; and
 8    Such further relief as this Court deems equitable and just.
 9                                    COUNT NINETEEN
10                VIOLATION OF THE NEVADA FALSE CLAIMS ACT
11          320. Relator re-alleges and incorporate the allegations in paragraphs 1-318
12    as if fully set forth herein. Additionally, Relator states that the course of conduct
13    described in this Complaint was a nationwide practice of Medtronic.            Medtronic
14    conducts business in the State of Nevada.              Upon information and belief,
15    Medtronic's actions described herein occurred in Nevada as well.
16          321. This is a qui tam action brought by Relator and the State of Nevada to
17    recover treble damages and civil penalties under the Nevada False Claims Act,
18    N.R.S. § 357.010 et. seq.
19          322. N.R.S. § 357.040(1) provides liability for any person who-
20          Knowingly presents or causes to be presented a false claim for
21          payment or approval;
22          Knowingly makes or uses, or causes to be made or used, a false record
23          or statement to obtain payment or approval of a false claim;
24          Conspires to defraud by obtaining allowance or payment of a false
25          claim;
26          Is a beneficiary of an inadvertent submission of a false claim and, after
27          discovering the falsity of the claim, fails to disclose the falsity to the
28          state or political subdivision within a reasonable time.
                                           -83-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 22 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 84 of 130


 1           323. In addition, N.R.S. § 422.560 prohibits the solicitation, acceptance or
 2    receipt of anything of value in connection with the provision of medical goods or
 3    services for which payment may be made in whole or in part under the Nevada
 4    Medicaid program.
 5           324. Medtronic violated N.R.S. § 422.560 from at least 2001 to the present
 6    by engaging in the fraudulent and illegal practices described herein.
 7           325. Medtronic furthermore violated N.R.S. § 357.040(1) and knowingly
 8    caused hundreds of thousands of false claims to be made, used and presented to the
 9    State of Nevada from at least 2001 to the present by its violation of federal and state
1O    laws, including N.R.S. § 422.560, the Anti-Kickback Act and the Stark Act, as
11    described herein.
12           326. The State of Nevada, by and through the Nevada Medicaid program
13    and other health care programs, and unaware of Medtronic's fraudulent and illegal
14    practices, paid the claims submitted by health care providers and third party payers
15    in connection therewith.
16           327. Compliance with applicable Medicare, Medicaid and the various other
17    federal and state laws cited herein was an implied, and upon information and belief,
18    also an express condition of payment of clams submitted to the State of Nevada in
19    connection with Medtronic' s fraudulent and illegal practices.
20           328. Had the State of Nevada known that Medtronic was violating the
21    federal and state laws cited herein, it would not have paid the claims submitted by
22    health care providers and third party payers in connection with Medtronic' s
23    fraudulent and illegal practices.
24           329. As a result of Medtronic's violations ofN.R.S. § 357.040(1) the State
25    of Nevada has been damaged in an amount far in excess or millions of dollars
26    exclusive of interest.
27          330. Adolfo Schroeder 1s a private person with direct and independent
28    knowledge of the allegations of this Complaint, who has brought this action
                                            -84-
                          First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 23 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 85 of 130


 1    pursuant to N.R.S. § 357.080(1) on behalf of himself and the State of Nevada.
 2          331. This Court is requested to accept supplemental jurisdiction of this
 3    related state claim as it is predicted upon the exact same facts as the federal claim,
 4    and merely asserts separate damage to the State of Nevada in the operation of its
 5    Medicaid program.
 6          332. WHEREFORE, Relator respectfully requests this Court to award the
 7    following damages to the following parties and against Medtronic:
 8          To the STATE OF NEVADA:
 9          Three times the amount of actual damages which the State of Nevada has
1O          sustained as a result of Medtronic's fraudulent and illegal practices;
11          A civil penalty of not less than $2,000 and not more than $10,000 for each
12          false claim which Medtronic caused to be presented to the State of Nevada;
13          Prejudgment interest; and
14          All costs incurred in bringing this action.
15          To RELATOR:
16          The maximum amount allowed pursuant to N.R.S § 357.210 and/or any other
17          applicable provision of law;
18          Reimbursement for reasonable expenses which Relator incurred in
19          connection with this action;
20          An award of reasonable attorneys' fees and costs; and
21          Such further relief as this Court deems equitable and just.
22

23                                    COUNT TWENTY
24          VIOLATION OF THE NEW HAMPSHIRE FALSE CLAIMS ACT
25          333. Relator re-alleges and incorporate the allegations in paragraphs 1-331
26    as if fully set forth herein. Additionally, Relator states that the course of conduct
27    described in this Complaint was a nationwide practice of Medtronic. Medtronic
28    conducts business in the New Hampshire.             Upon information and belief,
                                          -85-
                        First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 24 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 86 of 130


 1    Medtronic's actions described herein occurred in New Hampshire as well.
 2          334. This is a qui tam action brought by Relator and State of New
 3    Hampshire for treble damages and penalties under New Hampshire False Claims
 4    Act, N.H. Rev. Stat.§ 167:61-b et seq.
 5          335. N.H. Rev. Stat.§ 167:61-b provides liability for any person who-
 6          Knowingly presents, or causes to be presented, to an officer or employee
 7          of the department, a false or fraudulent claim for payment or approval.
 8          Knowingly makes, uses, or causes to be made or used, a false record or
 9          statement to get a false or fraudulent claim paid or approved by the
10          depaiiment.
11          Conspires to defraud the department by getting a false or fraudulent
12          claim allowed or paid.
13          336. Medtronic violated N.H. Rev. Stat. § 167:61-b and knowingly caused
14    hundreds of thousands of false claims to be made, used and presented to the State of
15    New Hampshire from at least 2001 to the present by its violation of federal and
16    state laws, including the Anti-Kickback Act and the Stark Act as described herein.
17          337. The State of New Hampshire, by and through the New Hampshire
18    Medicaid program and other state health care programs, and unaware of
19    Medtronic's fraudulent and illegal practices, paid the claims submitted by health
20    care providers and third party payers in connection therewith.
21          338. Compliance with applicable Medicare, Medicaid and the various other
22    federal and state laws cited herein was an implied, and upon information and belief,
23    also an express condition of payment of claims submitted to the State of New
24    Hampshire in connection with Medtronic's fraudulent and illegal practices.
25          339. Had the State of New Hampshire known that Medtronic was violating
26    the federal and state laws cited herein, it would not have paid the claims submitted
27    by health care providers and third party payers in connection with Medtronic' s
28    fraudulent and illegal practices.
                                            -86-
                          First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 25 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 87 of 130


 1          340. As a result of Medtronic's violations ofN.H. Rev. Stat. § 167:61-b the
 2    State of New Hampshire has been damaged in an amount far in excess of millions
 3    of dollars exclusive of interest.
 4          341. Adolfo Schroeder is a private person with direct and independent
 5    knowledge of the allegations of the Compliant, who has brought this action
 6    pursuant to N.H. Rev. Stat. § 167:61-c on behalf of himself and the State of New
 7    Hampshire.
 8          342. This Court is requested to accept supplemental jurisdiction of this
 9    related state claim as it is predicated upon that exact same facts as the federal claim,
10    and merely asserts separate damage to the State of New Hampshire in the operation
11    of its Medicaid program.
12          343. WHEREFORE, Relator respectfully requests this Court to award the
13    following damages to the following parties and against Medtronic:
14          To the STATE OF NEW HAMPSHIRE:
15          Three times the amount of actual damages which that State of New
16          Hampshire has sustained as a result of Medtronic's fraudulent and illegal
17          practices;
18          A civil penalty of not less than $5,000 and not more than $10,000 for each
19          false claim which Medtronic caused to be presented to the State of New
20          Hampshire;
21          Prejudgment interest; and
22          All costs incurred in bringing this action.
23          To RELATOR:
24          The maximum amount allowed pursuant to N.H. Rev. Stat.§ 167:61-e and/or
25          any other applicable provision of law;
26          Reimbursement for reasonable expenses which Relator incurred in
27          connection with this action;
28          An award of reasonable attorneys' fees and costs; and
                                            -87-
                          First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 26 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 88 of 130


            Such further relief as this Court deems equitable and just.
 2                                 COUNT TWENTY-ONE
 3              VIOLATION OF THE NEW JERSEY FALSE CLAIMS ACT
 4          344. Relator re-alleges and incorporate the allegations in paragraphs 1-343
 5    as if fully set forth herein. Additionally, Medtronic conducts business in the New
 6    Jersey.   Upon information and belief, Medtronic's actions described herein
 7    occurred in New Jersey as well.
 8          345. This is a qui tam action brought by Relator and State of New Jersey for
 9    treble damages and penalties under New Jersey False Claims Act, N.J.S.A.
10    2A:32C-1 et seq.
11          346. N.J.S.A. 2A:32C-3 provides liability for any person who-
12          Knowingly presents or causes to be presented to an employee, officer or
13          agent of the State, or to any contractor, grantee, or other recipient of
14          State funds, a false or fraudulent claim for payment or approval;
15          Knowingly makes, uses, or causes to be made or used a false record or
16          statement to get a false or fraudulent claim paid or approved by the
17          State;
18          Conspires to defraud the State by getting a false or fraudulent claim
19          allowed or paid by the State.
20          347. In addition, N.J.S.A. 30:4D-17 prohibits solicitation, offers, or receipt
21    of any kickback, rebate or bribe in connection with the furnishing of items or
22    services for which payment is or may be made in whole or in part under the New
23    Jersey Medicaid program, or the furnishing of items or services whose cost is or
24    may be reported in whole or in part in order to obtain benefits or payments under
25    New Jersey Medicaid.
26          348. Medtronic violated N.J.S.A. 30:4D-l 7 from at least 2001 to the present
27    by engaging in the fraudulent and illegal practices described herein.
28          349. Medtronic furthermore violated N.J.S.A. 2A:32C-3 and knowingly
                                             -88-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 27 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 89 of 130

      caused hundreds of thousands of false claims to be made, used and presented to the
 2    State of Nevada from at least 2001 to the present by its violation of federal and state
 3    laws, including N.J.S.A. 30:4D-17, the Anti-Kickback Act and the Stark Act, as
 4    described herein.
 5           350. The State of New Jersey, by and through the New Jersey Medicaid
 6    program and other state health care programs, and unaware of Medtronic's
 7    fraudulent and illegal practices, paid the claims submitted by health care providers
 8    and third party payers in connection therewith.
 9           351. Compliance with applicable Medicare, Medicaid and the various other
1O    federal and state laws cited herein was an implied, and upon information and belief,
11    also an express condition of payment of claims submitted to the State of New
12    Jersey in connection with Medtronic's fraudulent and illegal practices.
13          352. Had the State of New Jersey known that Medtronic was violating the
14    federal and state laws cited herein, it would not have paid the claims submitted by
15    health care providers and third party payers in connection with Medtronic's
16    fraudulent and illegal practices.
17          353. As a result of Medtronic's violations ofN.J.S.A. 2A:32C-3 the State of
18   New Jersey has been damaged in an amount far in excess of millions of dollars
19    exclusive of interest.
20          354. Adolfo Schroeder is a private person with direct and independent
21   knowledge of the allegations of the Compliant, who has brought this action
22   pursuant to N.J.S.A. 2A:32C-5 on behalf of himself and the State of New Jersey.
23          355. This Court is requested to accept supplemental jurisdiction of this
24   related state claim as it is predicated upon that exact same facts as the federal claim,
25   and merely asserts separate damage to the State of New Jersey in the operation of
26   its Medicaid program.
27          356. WHEREFORE, Relator respectfully requests this Court to award the
28   following damages to the following parties and against Medtronic:
                                            -89-
                          First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 28 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 90 of 130


 1          To the STATE OF NEW JERSEY:
 2          Three times the amount of actual damages which that State of New Jersey
 3          has sustained as a result of Medtronic' s fraudulent and illegal practices;
 4          A civil penalty of not less than $5,000 and not more than $10,000 for each
 5          false claim which Medtronic caused to be presented to the State of New
 6          Jersey;
 7          Prejudgment interest; and
 8          All costs incurred in bringing this action.
 9          To RELATOR:
10          The maximum amount allowed pursuant to N.J.S.A. 2A:32C-7and/or any
11          other applicable provision of law;
12          Reimbursement for reasonable expenses which Relator incurred in
13          connection with this action;
14          An award of reasonable attorneys' fees and costs; and
15          Such further relief as this Court deems equitable and just.
16                                 COUNT TWENTY-TWO
17     VIOLATION OF THE NEW MEXICO MEDICAID FALSE CLAIMS ACT
18                    AND THE FRAUD AGAINST TAXPAYERS ACT
19          357. Relator re-alleges and incorporate the allegations in paragraphs 1-356
20    as if fully set forth herein. Additionally, Relator states that the course of conduct
21    described in this Complaint was a nationwide practice of Medtronic.         Medtronic
22    conducts business in the State of New Mexico.          Upon information and belief,
23    Medtronic's actions described herein occurred in the State of New Mexico as well.
24          358. This is a qui tam action brought by Relator and the State of New
25    Mexico to recover treble damages and civil penalties under the New Mexico
26    Medicaid False Claims Act, N. M. S. A. 1978, § 27-14-1 et seq. and the New
27    Mexico Fraud Against Taxpayers Act, N. M. S. A. 1978, § 44-9-1 et seq.
28    III
                                          -90-
                        First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 29 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 91 of 130


 1          359. N. M. S. A. 1978, § 27-14-4 provides liability for any person who-
 2
            Presents, or causes to be presented, to the state a claim for payment
 3          under the Medicaid program knowing that the person receiving a
 4          Medicaid benefit or payment is not authorized or is not eligible for a
            benefit under the Medicaid program.
 5

 6          Makes, uses or causes to be made or used a record or statement to
            obtain a false or fraudulent claim under the Medicaid program paid for
 7          or approved by the state knowing such record or statement is false.
 8
            Conspires to defraud the state by getting a claim allowed or paid under
 9          the Medicaid program knowing that such claim is false or fraudulent.
10          360. N.M.S.A. 1978 § 44-9-3 provides liability for any person who-
11          Knowingly presents, or causes to be presented, to an employee, officer
            or agent of the state or to a contractor, grantee or other recipient of
12          state funds a false or fraudulent claim for payment or approval;
13
            Knowingly makes or uses, or causes to be made or used, a false,
14
            misleading or fraudulent record or statement to obtain or support the
15          approval of or the payment on a false or fraudulent claim;
16
            Conspires to defraud the state by obtaining approval or payment on a
17          false or fraudulent claim;
18
            Conspires to make, use or cause to be made or used, a false,
19          misleading or fraudulent record or statement to conceal, avoid or
            decrease an obligation to pay or transmit money or property to the
20
            state.
21

22          361. Medtronic violated N. M. S. A. 1978, § 27-14-4 and N.M.S.A. 1978 §
23    44-9-3 from at least 2001 to the present by engaging in the fraudulent and illegal
24    practices described herein.
25          362. Medtronic furthermore violated N. M. S. A. 1978, § 27-14-4 and
26    N.M.S.A. 1978 § 44-9-3 and knowingly caused thousands of false claims to be
27    made, used and presented to the State of New Mexico from at least 2001 to the
28   present by its violation of federal and state laws, including the Anti-Kickback Act,

                                           -91-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 30 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 92 of 130


 1    and Stark Act, as described herein.
 2          363. The State of New Mexico, by and through the State of New Mexico
 3    Medicaid program and other state health care programs, and unaware of
 4    Medtronic's fraudulent and illegal practices, paid the claims submitted by health
 5    care providers and third payers in connection therewith.
 6          364. Compliance with applicable Medicare, Medicaid and the various other
 7    federal and state laws cited herein was an implied, and upon information and belief,
 8    also an express condition of payment of claims submitted to the State of New
 9    Mexico in connection with Medtronic' s fraudulent and illegal practices.
10          365. Had the State of New Mexico known that Medtronic was violating the
11    federal and state laws cited herein, it would not have paid the claims submitted by
12    health care providers and third party payers in connection with Medtronic's
13    fraudulent and illegal practices.
14          366. As a result of Medtronic's violations of N. M. S. A. 1978, § 27-14-4
15    and N.M.S.A. 1978 § 44-9-3 the State of New Mexico has been damaged in an
16    amount far in excess of millions of dollars exclusive of interest.
17          367. Adolfo Schroeder is a private person with direct and independent
18    knowledge of the allegations of this Complaint, who has brought this action
19    pursuant to N. M. S. A. 1978, § 27-14-7 and N. M. S. A. 1978, § 44-9-5 on behalf
20    of himself and the State of New Mexico.
21          368. This Court is requested to accept supplemental jurisdiction of this
22    related state claim as it is predicated upon the exact same facts as the federal claim,
23    and merely asserts separate damage to the State of New Mexico in the operation of
24    its Medicaid program.
25          369. WHEREFORE, Relator respectfully requests this Court to award the
26    following damages to the following parties and against Medtronic:
27    III
28    III
                                            -92-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 31 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 93 of 130


 1          To the STATE OF NEW MEXICO:
 2          Three times the amount of actual damages which the State of New Mexico
 3          has sustained as a result of Medtronic's fraudulent and illegal practices;
 4          A civil penalty of not less than $5,000 and not more than $10,000 for each
 5          false claim which Medtronic caused to be presented to the State of New
 6          Mexico;
 7          Prejudgment interest; and
 8          All costs incurred in bringing this action.
 9          To RELATOR:
10          The maximum amount allowed pursuant to N. M. S. A. 1978, § 27-14-9 and
11          N. M. S. A. 1978, § 44-9-7 and /or any other applicable provision of law;
12          Reimbursement for reasonable expenses which Relator incurred in
13          connection with this action;
14          An award of reasonable attorneys' fees and costs; and
15          Such further relief as this court deems equitable and just.
16                                COUNT TWENTY-THREE
17              VIOLATION OF THE NEW YORK FALSE CLAIMS ACT
18          370. Relator re-alleges and incorporate the allegations in paragraphs 1-369
19    as if fully set forth herein. Additionally, Relator states that the course of conduct
20    described in this Complaint was a nationwide practice of Medtronic. Medtronic
21    conducts business in the New York. Upon information and belief, Medtronic' s
22    actions described herein occurred in New York as well.
23          371. This is a qui tam action brought by Relator and State of New York for
24    treble damages and penalties under New York False Claims Act, McKinney's State
25    Finance Law § 187 et seq.
26          372. McKinney's State Finance Law§ 189 provides liability for any person
27    who-
28          Knowingly presents, or causes to be presented, to any employee, officer
                                           -93-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 32 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 94 of 130


 1           or agent of the state or a local government, a false or fraudulent claim
 2           for payment or approval;
 3           Knowingly makes, uses, or causes to be made or used, a false record or
 4           statement to get a false or fraudulent claim paid or approved by the state
 5           or a local government;
 6           Conspires to defraud the state or a local government by getting a false or
 7           fraudulent claim allowed or paid.
 8           373. Medtronic violated§ 189 from at least 2001 to the present by engaging
 9    in the fraudulent and illegal practices described herein.
1O           3 74. Medtronic furthen11ore violated § 189 and knowingly caused hundreds
11    of thousands of false claims to be made, used and presented to the State of Nevada
12    from at least 2001 to the present by its violation of federal and state laws, including
13    the Anti-Kickback Act and the Stark Act, as described herein.
14           375. The State of New York, by and through the New York Medicaid
15    program and other state health care programs, and unaware of Medtronic's
16    fraudulent and illegal practices, paid the claims submitted by health care providers
17    and third party payers in connection therewith.
18           376. Compliance with applicable Medicare, Medicaid and the various other
19    federal and state laws cited herein was an implied, and upon infonnation and belief,
20    also an express condition of payment of claims submitted to the State of New York
21    in connection with Medtronic's fraudulent and illegal practices.
22           377. Had the State of New York known that Medtronic was violating the
23    federal and state laws cited herein, it would not have paid the claims submitted by
24    health care providers and third party payers in connection with Medtronic' s
25    fraudulent and illegal practices.
26           378. As a result of Medtronic's violations of§ 189 the State of New York
27    has been damaged in an amount far in excess of millions of dollars exclusive of
28    interest.
                                           -94-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 33 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 95 of 130


 1          379. Adolfo Schroeder is a private person with direct and independent
 2    knowledge of the allegations of the Compliant, who has brought this action
 3    pursuant to McKinney's State Finance Law § 190(2) on behalf of himself and the
 4    State ofNew York.
 5          380. This Court is requested to accept supplemental jurisdiction of this
 6    related state claim as it is predicated upon that exact same facts as the federal claim,
 7    and merely asserts separate damage to the State of New York in the operation of its
 8    Medicaid program.
 9          381. WHEREFORE, Relator respectfully requests this Court to award the
1O    following damages to the following parties and against Medtronic:
11          To the STATE OF NEW YORK:
12          Three times the amount of actual damages which that State of New York has
13          sustained as a result of Medtronic' s fraudulent and illegal practices;
14          A civil penalty of not less than $5,000 and not more than $10,000 for each
15          false claim which Medtronic caused to be presented to the State of New
16          York;
17          Prejudgment interest; and
18          All costs incurred in bringing this action.
19          To RELATOR:
20          The maximum amount allowed pursuant to McKinney's State Finance Law§
21          190(6) and/or any other applicable provision of law;
22          Reimbursement for reasonable expenses which Relator incurred in
23          connection with this action;
24          An award of reasonable attorneys' fees and costs; and
25          Such further relief as this Court deems equitable and just.
26    III
27    III
28    III
                                           -95-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 34 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 96 of 130


 1                                 COUNT TWENTY-FOUR
 2      VIOLATION OF THE OKLAHOMA MEDICAID FALSE CLAIMS ACT
 3          382. Relator re-alleges and incorporate the allegations in paragraphs 1-381
 4    as if fully set forth herein. Additionally, Relator states that the course of conduct
 5    described in this Complaint was a nationwide practice of Medtronic.        Medtronic
 6    conducts business in the State of Oklahoma.            Upon information and belief,
 7    Medtronic' s actions described herein occurred in the State of Oklahoma as well.
 8          383. This is a qui tam action brought by Relator and the State of Oklahoma
 9    to recover treble damages and civil penalties under the Oklahoma Medicaid False
10    Claims Act, 63 Okl. St. Ann. § 5053 et seq ..
11          384. 63 Oki. St. Ann. § 5053.1 provides liability for any person who-
12          Knowingly presents, or causes to be presented, to an officer or
13          employee of the State of Oklahoma, a false or fraudulent claim for
14          payment or approval;
15          Knowingly makes, uses, or causes to be made or used, a false record or
16          statement to get a false or fraudulent claim paid or approved by the
17          state;
18          Conspires to defraud the state by getting a false or fraudulent claim
19          allowed or paid;
20          385. In addition, 56 Oki. St. Ann. § 1005 prohibits solicitation or
21    acceptance of a benefit, pecuniary benefit, or kickback in connection with goods or
22    services paid or claimed by a provider to be payable by the Oklahoma Medicaid
23    Program.
24          386. Medtronic violated 56 Oki. St. Ann. § 1005 from at least 2001 to the
25    present by engaging in the fraudulent and illegal practices described herein.
26          387. Medtronic furthermore violated 63 Okl. St. Ann. § 5053.1 and
27    knowingly caused thousands of false claims to be made, used and presented to the
28    State of Oklahoma from at least 2001 to the present by its violation of federal and
                                             -96-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 35 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 97 of 130


 1    state laws, including 56 Okl. St. Ann. § 1005, the Anti-Kickback Act, and Stark
 2    Act, as described herein.
 3           388. The State of Oklahoma, by and through the State of Oklahoma
 4    Medicaid program and other state health care programs, and unaware of
 5    Medtronic's fraudulent and illegal practices, paid the claims submitted by health
 6    care providers and third payers in connection therewith.
 7          3 89. Compliance with applicable Medicare, Medicaid and the various other
 8    federal and state laws cited herein was an implied, and upon information and belief,
 9    also an express condition of payment of claims submitted to the State of Oklahoma
10    in connection with Medtronic's fraudulent and illegal practices.
11          390. Had the State of Oklahoma known that Medtronic was violating the
12    federal and state laws cited herein, it would not have paid the claims submitted by
13    health care providers and third party payers in connection with Medtronic's
14    fraudulent and illegal practices.
15          391. As a result of Medtronic's violations of 63 Okl. St. Ann. § 5053.1 the
16    State of Oklahoma has been damaged in an amount far in excess of millions of
17    dollars exclusive of interest.
18          392. Adolfo Schroeder is a private person with direct and independent
19    knowledge of the allegations of this Complaint, who has brought this action
20    pursuant to 63 Okl. St. Ann. § 5053.2(B) on behalf of himself and the State of
21    Oklahoma.
22          393. This Court is requested to accept supplemental jurisdiction of this
23    related state claim as it is predicated upon the exact same facts as the federal claim,
24    and merely asserts separate damage to the State of Oklahoma in the operation of its
25    Medicaid program.
26          394. WHEREFORE, Relator respectfully requestss this Court to award the
27    following damages to the following parties and against Medtronic:
28    III
                                            -97-
                          First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 36 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 98 of 130


 1          To the STATE OF OKLAHOMA:
 2          Three times the amount of actual damages which the State of Oklahoma has
 3          sustained as a result of Medtronic's fraudulent and illegal practices;
 4          A civil penalty of not less than $5,000 and not more than $10,000 for each
 5          false claim which Medtronic caused to be presented to the State of
 6          Oklahoma;
 7          Prejudgment interest; and
 8          All costs incurred in bringing this action.
 9          To RELATOR:
10          The maximum amount allowed pursuant 63 Okl. St. Ann. § 5053.4 and /or
11          any other applicable provision of law;
12          Reimbursement for reasonable expenses which Relator incurred in
13          connection with this action;
14          An award of reasonable attorneys' fees and costs; and
15          Such further relief as this court deems equitable and just.
16                                 COUNT TWENTY-FIVE
17           VIOLATION OF THE RHODE ISLAND FALSE CLAIMS ACT
18          395. Relator re-alleges and incorporate the allegations in paragraphs 1-394
19    as if fully set forth herein. Additionally, Relator states that the course of conduct
20    described in this Complaint was a nationwide practice of Medtronic.        Medtronic
21    conducts business in the State of Rhode Island.         Upon information and belief,
22    Medtronic's actions described herein occurred in the State of Rhode Island as well.
23          396. This is a qui tam action brought by Relator and the State of Rhode
24    Island to recover treble damages and civil penalties under the Rhode Island False
25    Claims Act, Gen. Laws 1956, § 9-1.1-1 et seq.
26          397. Gen. Laws 1956, § 9-1.1-3 provides liability for any person who-
27          knowingly presents, or causes to be presented, to an officer or employee
28          of the state or a member of the guard a false or fraudulent claim for
                                           -98-
                         First Amended Complaint and Demand for Jury Trial
      Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 37 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 99 of 130


 1          payment or approval;
 2          knowingly makes, uses, or causes to be made or used, a false record or
 3          statement to get a false or fraudulent claim paid or approved by the state;
 4          conspires to defraud the state by getting a false or fraudulent claim
 5          allowed or paid.
 6          398. In addition, Gen. Laws 1956, § 40-8.2-3 prohibits the solicitation,
 7    receipt, offer, or payment of any remuneration, including any kickback, bribe, or
 8    rebate, directly or indirectly, in cash or in kind, to induce referrals from or to any
 9    person in return for furnishing of services or merchandise or in return for referring
10    an individual to a person for the furnishing of any services or merchandise for
11    which payment may be made, in whole or in part, under the Rhode Island Medicaid
12    program.
13          399. Medtronic violated Gen. Laws 1956, § 40-8.2-3 from at least 2001 to
14    the present by engaging in the fraudulent and illegal practices described herein.
15          400. Medtronic furthermore violated Gen. Laws 1956, § 9-1.1-3 and
16    knowingly caused thousands of false claims to be made, used and presented to the
17    State of Rhode Island from at least 2001 to the present by its violation of federal
18    and state laws, including Gen. Laws 1956, § 40-8.2-3, the Anti-Kickback Act, and
19    Stark Act, as described herein.
20          401. The State of Rhode Island, by and through the State of Rhode Island
21    Medicaid program and other state health care programs, and unaware of
22    Medtronic's fraudulent and illegal practices, paid the claims submitted by health
23    care providers and third payers in connection therewith.
24          402. Compliance with applicable Medicare, Medicaid and the various other
25    federal and state laws cited herein was an implied, and upon information and belief,
26    also an express condition of payment of claims submitted to the State of Rhode
27    Island in connection with Medtronic's fraudulent and illegal practices.
28

                                           -99-
                         First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 38 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 100 of 130


 1           403. Had the State of Rhode Island known that Medtronic was violating the
 2     federal and state laws cited herein, it would not have paid the claims submitted by
 3     health care providers and third party payers in connection with Medtronic's
 4     fraudulent and illegal practices.
 5           404. As a result ofMedtronic's violations of Gen. Laws 1956, § 9-1.1-3 the
 6     State of Rhode Island has been damaged in an amount far in excess of millions of
 7     dollars exclusive of interest.
 8           405. Adolfo Schroeder 1s a private person with direct and independent
 9     knowledge of the allegations of this Complaint, who has brought this action
1O     pursuant to Gen. Laws 1956, § 9-1.1-4(b) on behalf of himself and the State of
11     Rhode Island.
12           406. This Court is requested to accept supplemental jurisdiction of this
13     related state claim as it is predicated upon the exact same facts as the federal claim,
14     and merely asserts separate damage to the State of Rhode Island in the operation of
15     its Medicaid program.
16           407. WHEREFORE, Relator respectfully requests this Court to award the
17     following damages to the following parties and against Medtronic:
18           To the STATE OF RHODE ISLAND:
19           Three times the amount of actual damages which the State of Rhode Island
20           has sustained as a result of Medtronic's fraudulent and illegal practices;
21           A civil penalty of not less than $5,000 and not more than $10,000 for each
22           false claim which Medtronic caused to be presented to the State of Rhode
23           Island;
24           Prejudgment interest; and
25           All costs incurred in bringing this action.
26           To RELATOR:
27           The maximum amount allowed pursuant Gen. Laws 1956, § 9-1.1-4( d)
28           and/or any other applicable provision of law;
                                             -100-
                           First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 39 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 101 of 130


 1           Reimbursement for reasonable expenses which Relator incurred in
 2           connection with this action;
 3           An award of reasonable attorneys' fees and costs; and
 4     Such further relief as this court deems equitable and just.
 5                                   COUNT TWENTY-SIX
 6               VIOLATION OF THE TENNESSEE FALSE CLAIMS ACT
 7           408. Relator re-alleges and incorporate the allegations in paragraphs 1-407
 8     as if fully set forth herein. Additionally, Relator states that the course of conduct
 9     described in this Complaint was a nationwide practice of Medtronic.           Medtronic
1O     conducts business in the State of Tennessee.           Upon information and belief,
11     Medtronic's actions described herein occurred in Tennessee as well.
12           409. This is a qui tam action brought by Relator and the State of Tennessee
13     to recover treble damages and civil penalties under the Tennessee Medicaid False
14     Claims Act, Tenn. Code Ann.§ 71-5-181 et seq.
15           410. Section 71-5-182(a)(l) provides liability for any person who-
16           Presents, or causes to be presented to the state, a claim for payment
17           under the Medicaid program knowing such claim is false or fraudulent;
18           Makes or uses, or causes to be made or used, a record or statement to
19           get a false or fraudulent claim under the Medicaid program paid for a
20           approved by the state knowing such record or statement is false;
21           Conspires to defraud the State by getting a claim allowed or paid under
22           the Medicaid program knowing such claim is false or fraudulent.
23           411.   ~1edtronic   violated Tenn. Code Ann. § 71-5-182(a)(l) and knowingly
24     caused hundreds of thousands of false claims to be made, used and presented to the
25     State of Tennessee from at least 2001 to the present by its violation of federal and
26    state laws, including the Anti-Kickback Act and the Stark Act, as described herein.
27           412. The State of Tennessee, by and through the Tennessee Medicaid
28    program and other state health care programs, and unaware of Medtronic' s
                                            -101-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 40 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 102 of 130


 1     fraudulent and illegal practices, paid the claims submitted by health care providers
 2     and third party payers in connection therewith.
 3            413. Compliance with applicable Medicare, Medicaid and the various other
 4     federal and state laws cited herein was an implied, and upon information and belief,
 5     also an express condition of payment of claims submitted to the State of Tennessee
 6     in connection with Medtronic' s fraudulent and illegal practices.
 7            414. Had the State of Tennessee known that Medtronic violated the federal
 8     and state laws cited herein, it would not have paid the claims submitted by health
 9     care providers and third party payers in connection with Medtronic's fraudulent and
1O     illegal practices.
11            415. As a result of Medtronic's violations of Tenn. Code Ann. § 71-5-
12     l 82(a)( 1), the State of Tennessee has been damaged in an amount far in excess of
13    millions of dollars exclusive of interest.
14            416. Adolfo Schroeder is a private person with direct and independent
15    knowledge of the allegations of this Complaint, who has brought this action
16    pursuant to Tenn. Code Ann.§ 71-5-183(a)(l) on behalf of himself and the State of
17    Tennessee.
18            417. This Court is requested to accept supplemental jurisdiction of this
19    related state claim as it is predicated upon the exact same facts as the federal claim,
20    and merely asserts separate damage to the State of Tennessee in the operation of its
21    Medicaid program.
22            418. WHEREFORE, Relator respectfully requests this Court to award the
23    following damages to the following parties and against Medtronic:
24            To the STATE OF TENNESSEE:
25           Three times the amount of actual damages which the State of Tennessee has
26           sustained as a result of Medtronic' s fraudulent and illegal practices;
27           A civil penalty of not less than $5,000 and not more than $10,000 for each
28           false claim which Medtronic caused to be presented to the State of
                                              -102-
                            First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 41 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 103 of 130


 I           Tennessee;
 2           Prejudgment interest; and
 3           All costs incurred in bringing this action.
 4           To RELATOR:
 5           The maximum amount allowed to Tenn. Code Ann. §71-5-183(c) and/or any
 6           other applicable provision of law;
 7           Reimbursement for reasonable expenses which Relator incurred in
 8           connection with this action;
 9           An award of reasonable attorneys' fees and costs; and
1O           Such further relief as this Court deems equitable and just.
11                                  COUNT TWENTY-SEVEN
12                 VIOLATION OF THE TEXAS FALSE CLAIMS ACT
13           419. Relator re-alleges and incorporate the allegations in paragraphs 1-418
14     as if fully set forth herein. Additionally, Relator states that the course of conduct
15     described in this Complaint was a nationwide practice of Medtronic. Medtronic
16     conducts business in the State of Texas.       Medtronic's actions described herein
17     occurred in Texas as well.
18           420. This is a qui tam action brought by Relator and the State of Texas to
19    recover double damages and civil penalties under the Texas False Claims Act,
20    V.T.C.A. Hum. Res. Code§ 36.001 et seq.
21           421. V.T.C.A. Hum. Res. Code § 36.002, in relevant part, provides liability
22    for any person who-
23

24           ( 1) knowingly makes or causes to be made a false statement or
25           misrepresentation of a material fact to permit a person to receive a
             benefit or payment under the Medicaid program that is not authorized
26           or that is greater than the benefit or payment that is authorized;
27
             (2) knowingly conceals or fails to disclose information that permits a
28           person to receive a benefit or payment under the Medicaid program
                                            -103-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 42 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 104 of 130


 1          that is not authorized or that is greater than the benefit or payment that
 2          is authorized;
 3          (3) knowingly applies for and receives a benefit or payment on behalf
 4          of another person under the Medicaid program and converts any part
            of the benefit or payment to a use other than for the benefit of the
 5          person on whose behalf it was received
 6
 7
            *     *      *
 8          (5) except as authorized under the Medicaid program, knowingly pays,
            charges, solicits, accepts, or receives, in addition to an amount paid
 9
            under the Medicaid program, a gift, money, a donation, or other
10          consideration as a condition to the provision of a service or product or
            the continued provision of a service or product if the cost of the service
11
            or product is paid for, in whole or in part, under the Medicaid program;
12
13          *     *      *
14          (5) except as authorized under the Medicaid program, knowingly pays,
            charges, solicits, accepts, or receives, in addition to an amount paid
15
            under the Medicaid program, a gift, money, a donation, or other
16          consideration as a condition to the provision of a service or product or
            the continued provision of a service or product if the cost of the service
17
            or product is paid for, in whole or in part, under the 1\1edicaid program;
18
19          *     *      *
20          (9) knowingly enters into an agreement, combination, or conspiracy to
            defraud the state by obtaining or aiding another person in obtaining an
21
            unauthorized payment or benefit from the Medicaid program or a
22          fiscal agent;
23
            *     *      *
24
            (12) knowingly makes, uses, or causes the making or use of a false
25
            record or statement to conceal, avoid, or decrease an obligation to pay
26          or transmit money or property to this state under the Medicaid
27
            program.

28    III
                                           -104-
                        First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 43 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 105 of 130


 1           422. Medtronic violated V.T.C.A. Hum. Res. Code § 36.002 and knowingly
 2     caused hundreds of thousands of false claims to be made, used and presented to the
 3     State of Texas from at least 2001 to the present by its violation of federal and state
 4     laws, including, the Anti-Kickback Act and the Stark Act, as described herein.
 5           423. The State of Texas, by and through the Texas Medicaid program and
 6     other state healthcare programs, and unaware of Medtronic's fraudulent and illegal
 7    practices, paid the claims submitted by health care providers and third party payers
 8     in connection therewith.
 9           424. Compliance with applicable Medicare, Medicaid and the various other
1O    federal and state laws cited herein was implied, and upon information and belief,
11     also an express condition of payment of claims submitted to the State of Texas in
12    connection with Medtronic's fraudulent and illegal practices.
13           425. Had the State of Texas known that Medtronic was violating the federal
14    and state laws cited herein, it wound not have paid the claims submitted by health
15    care providers and third party payers in connection with Medtronic' s fraudulent and
16    illegal practices.
17           426. As a result of Medtronic's violations of V.T.C.A. Hum. Res. Code §
18    36.002, the State of Texas has been damaged in an amount far in excess of millions
19    of dollars exclusive of interest.
20           427. Medtronic did not, within 30 days after it first obtained information as
21    to such violations, furnish such information to officials of the State responsible for
22    investigating false claims violations, did not otherwise fully cooperate with any
23    investigation of the violations, and have not otherwise furnished information to the
24    State regarding the claims for reimbursement at issue.
25           428. Adolfo Schroeder is a private person with direct and independent
26    knowledge of the allegations of this Complaint, who has brought this action
27    pursuant to V.T.C.A. Hum. Res. Code§ 36.101 on behalf of himself and the State
28    ofTexas.
                                             -105-
                           First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 44 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 106 of 130


 1           429. This Court is requested to accept supplemental jurisdiction of this
 2    related state claim as it is predicated upon the exact same facts as the federal claim,
 3     and merely asserts separate damage to the State of Texas in the operation of its
 4    Medicaid program.
 5           430. WHEREFORE, Relator respectfully requests this Court to award the
 6    following damages to the following parties and against Medtronic:
 7           To the STATE OF TEXAS:
 8           Damages at two times the value of any payment or monetary or in-kind
 9           benefit provided under the Medicaid program, directly or indirectly, as a
10           result of the unlawful acts set forth above, as provided by the Texas Human
11           Resources Code§ 36.052(a)(l) & (4)
12           Civil penalties of $15,000 for each and every unlawful act set forth above
13          that resulted in injury to a person younger than 18 years of age, as provided
14           by the Texas Human Resources Code § 36.052(3)(A)
15           Pre- and post-judgment interest, Tex. Hum. Res. Code§ 36.052(a)(2),
16           To RELATOR:
17           The maximum amount allowed pursuant to V.T.C.A. Hum Res. Code§
18           36.1 lO(a), and/or any other applicable provision of law;
19           Reimbursement for reasonable expenses and costs which Relator incurred in
20           connection with this action, Tex Hum Res. Code§§ 36.007 & 36.1 lO(c);
21          Reasonable attorneys' fees which the Relator necessarily incurred in bringing
22          and pressing this case, Tex Hum Res. Code§§ 36.007 & 36.1 lO(c); and
23           Such further relief as this Court deems equitable and just.
24                                COUNT TWENTY-EIGHT
25      VIOLATION OF THE VIRGINIA FRAUD AGAINST TAXPAYERS ACT
26          431. Relator re-alleges and incorporate the allegations in paragraphs 1-430
27    as if fully set forth herein. Additionally, Relator states that the course of conduct
28    described in this Complaint was a nationwide practice of Medtronic. Medtronic
                                           -106-
                         First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 45 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 107 of 130


       conducts business in the Commonwealth of Virginia. Upon information and belief,
 2    Medtronic' s actions described herein occurred in the Commonwealth of Virginia as
 3    well.
 4            432. This is a qui tam action brought by Relator and the Commonwealth of
 5    Virginia to recover treble damages and civil penalties under the Virginia Fraud
 6    Against Taxpayers Act, Va. Code Ann.§ 8.01-216.1 et seq.
 7            433. Va. Code Ann.§ 8.01-216.3 provides liability for any person who-
 8            Knowingly presents, or causes to be presented, to an officer or
 9            employee of the Commonwealth a false or fraudulent claim for
10            payment or approval;
11            Knowingly makes, uses, or causes to be made or used, a false record or
12            statement to get a false or fraudulent claim paid or approved by the
13            Commonwealth
14            Conspires to defraud the Commonwealth by getting a false or
15            fraudulent claim allowed or paid
16            434. Medtronic violated Va. Code Ann. § 8.01-216.3 from at least 2001 to
17    the present by engaging in the fraudulent and illegal practices described herein.
18            435. Medtronic furthermore violated Va. Code Ann. § 8.01-216.3 and
19    knowingly caused thousands of false claims to be made, used and presented to the
20    Commonwealth of Virginia from at least 2001 to the present by its violation of
21    federal and state laws, including the Anti-Kickback Act and Stark Act, as described
22    herein.
23            436. The Commonwealth of Virginia, by and through the Commonwealth
24    of Virginia Medicaid program and other state health care programs, and unaware of
25    Medtronic's fraudulent and illegal practices, paid the claims submitted by health
26    care providers and third payers in connection therewith.
27            437. Compliance with applicable Medicare, Medicaid and the various other
28    federal and state laws cited herein was an implied, and upon information and belief,
                                            -107-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 46 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 108 of 130


 1     also an express condition of payment of claims submitted to the Commonwealth of
 2     Virginia is connection with Medtronic' s fraudulent and illegal practices.
 3           438. Had the Commonwealth of Virginia known that Medtronic was
 4     violating the federal and state laws cited herein, it would not have paid the claims
 5     submitted by health care providers and third party payers in connection with
 6     Medtronic's fraudulent and illegal practices.
 7           439. As a result of Medtronic's violations of Va. Code Ann. § 8.01-216.3
 8     the Commonwealth of Virginia has been damaged in an amount far in excess of
 9     millions of dollars exclusive of interest.
1O           440. Adolfo Schroeder is a private person with direct and independent
11     knowledge of the allegations of this Complaint, who has brought this action
12     pursuant to Va. Code Ann. § 8.0l-216.5(A) on behalf of himself and the
13     Commonwealth of Virginia
14           441. This Court is requested to accept supplemental jurisdiction of this
15     related state claim as it is predicated upon the exact same facts as the federal claim,
16     and merely asserts separate damage to the Commonwealth of Virginia in the
17     operation of its Medicaid program.
18           442. WHEREFORE, Relator respectfully requests this Court to award the
19     following damages to the following parties and against Medtronic:
20           To the COMMONWEALTH OF VIRGINIA:
21           Three times the amount of actual damages which the Commonwealth of
22           Virginia has sustained as a result of Medtronic's fraudulent and illegal
23           practices;
24           A civil penalty of not less than $5,000 and not more than $10,000 for each
25           false claim which Medtronic caused to be presented to the Commonwealth of
26           Virginia;
27           Prejudgment interest; and
28           All costs incurred in bringing this action.
                                            -108-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 47 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 109 of 130


 1        To RELATOR:
 2        The maximum amount allowed pursuant to Va. Code Ann. § 8. 01-216. 7 and/or
 3        any other applicable provision of law;
 4        Reimbursement for reasonable expenses which Relator incurred in connection
 5        with this action;
 6        An award of reasonable attorneys' fees and costs; and
 7        Such further relief as this court deems equitable and just.
 8                                    COUNT TWENTY-NINE
 9        VIOLATION OF THE WISCONSIN FALSE CLAIMS FOR MEDICAL
10                                       ASSISTANCE ACT
11           443. Relator re-alleges and incorporate the allegations in paragraphs 1-442
12     as if fully set forth herein. Additionally, Relator states that the course of conduct
13     described in this Complaint was a nationwide practice of Medtronic. Medtronic
14     conducts business in the State of Wisconsin.             Upon infonnation and belief,
15     Medtronic' s actions described herein occurred in the State of Wisconsin as well.
16           444. This is a qui tam action brought by Relator and the State of Wisconsin
17     to recover treble damages and civil penalties under the Wisconsin False Claims for
18     Medical Assistance Act, W.S.A. 20.931 et seq.
19           445. W.S.A. 20.931(2) provides liability for any person who-
20            Knowingly presents or causes to be presented to any officer, employee,
21            or agent of this state a false claim for medical assistance.
22            Knowingly makes, uses, or causes to be made or used a false record or
23            statement to obtain approval or payment of a false claim for medical
24            assistance.
25            Conspires to defraud this state by obtaining allowance or payment of a
26            false claim for medical assistance, or by knowingly making or using, or
27            causing to be made or used, a false record or statement to conceal,
28

                                              -109-
                            First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 48 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 110 of 130


 1            avoid, or decrease an obligation to pay or transmit money or property to
 2            the Medical Assistance program.
 3           446. In addition, W.S.A. 49.49(2) prohibits solicitation or receipt of any
 4    remuneration, including any kickback, bribe, or rebate, directly or indirectly,
 5     overtly or covertly, in cash or in kind, in return for referring an individual to a
 6    person for the furnishing or arranging for the furnishing of any item or service for
 7    which payment may be made in whole or in part under any Wisconsin medical
 8    assistance pro gram.
 9           447. Medtronic violated W.S.A. 49.49(2) from at least 2001 to the present
1O    by engaging in the fraudulent and illegal practices described herein.
11           448. Medtronic furthermore violated W.S.A. 20.931(2) and knowingly
12    caused thousands of false claims to be made, used and presented to the State of
13    Wisconsin from at least 2001 to the present by its violation of federal and state
14    laws, including W.S.A. 49.49(2), the Anti-Kickback Act, and Stark Act, as
15    described herein.
16           449. The State of Wisconsin, by and through the State of Wisconsin
17    Medicaid program and other state health care programs, and unaware of
18    Medtronic's fraudulent and illegal practices, paid the claims submitted by health
19    care providers and third payers in connection therewith.
20           450. Compliance with applicable Medicare, Medicaid and the various other
21    federal and state laws cited herein was an implied, and upon information and belief,
22    also an express condition of payment of claims submitted to the State of Wisconsin
23    in connection with Medtronic's fraudulent and illegal practices.
24           451. Had the State of Wisconsin known that Medtronic was violating the
25    federal and state laws cited herein, it would not have paid the claims submitted by
26    health care providers and third party payers in connection with Medtronic's
27    fraudulent and illegal practices.
28    III
                                            -110-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 49 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 111 of 130


 1           452. As a result of Medtronic's violations of W.S.A. 20.931(2) the State of
 2     Wisconsin has been damaged in an amount far in excess of millions of dollars
 3     exclusive of interest.
 4           453. Adolfo Schroeder is a private person with direct and independent
 5    knowledge of the allegations of this Complaint, who has brought this action
 6    pursuant to W.S.A. 20.931(5) on behalf of himself and the State of Wisconsin.
 7           454. This Court is requested to accept supplemental jurisdiction of this
 8    related state claim as it is predicated upon the exact same facts as the federal claim,
 9     and merely asserts separate damage to the State of Wisconsin in the operation of its
10    Medicaid program.
11           455. WHEREFORE, Relator respectfully requests this Court to award the
12    following damages to the following parties and against Medtronic:
13           To the STATE OF WISCONSIN:
14           Three times the amount of actual damages which the State of Wisconsin has
15           sustained as a result of Medtronic' s fraudulent and illegal practices;
16           A civil penalty of not less than $5,000 and not more than $10,000 for each
17           false claim which Medtronic caused to be presented to the State of
18           Wisconsin;
19           Prejudgment interest; and
20           All costs incurred in bringing this action.
21           To RELATOR:
22           The maximum amount allowed pursuant W.S.A. 20.931(11) and /or any
23           other applicable provision of law;
24           Reimbursement for reasonable expenses which Relator incurred in
25           connection with this action;
26           An award of reasonable attorneys' fees and costs; and
27           Such further relief as this court deems equitable and just.
28    III
                                             -111-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 50 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 112 of 130

 1                                     COUNT THIRTY
 2       VIOLATION OF THE COLORADO MEDICAID FALSE CLAIMS ACT
 3          456. Relator re-alleges and incorporate the allegations in paragraphs 1-455
 4    as if fully set forth herein. Additionally, Relator states that the course of conduct
 5    described in this Complaint was a nationwide practice of Medtronic. Medtronic
 6    conducts business in the State of Colorado. Upon information and belief,
 7    Medtronic's actions described herein occurred in the State of Colorado as well.
 8          457. This is a qui tam action brought by Relator and the State of Colorado
 9    to recover treble damages and civil penalties under the Colorado Medicaid False
JO    Claims Act, Colorado Revised Statutes§ 25.5-4-303.5. et seq.
11          458. Colorado Revised Statutes § 25.5-4-305. provides liability for any
12    person who-
13          Knowingly presents, or causes to be presented, to an officer or
            employee of the state a false or fraudulent claim for payment or
14          approval;
15          Knowingly makes, uses~ or causes to be made or used a false record or
            statement material to a raise or fraudulent claim;
16
            Has possession, custody, or control of pro12erty or money used, or to be
17          used, by the state in connection with tlie "Colorado Medical Assistance
            Act" and knowingly delivers, or causes to be delivered, less than all of
18          the money or property;
19          Authorizes the making or delivery of a document certifying receipt of
            rro2e1iy used, or to be used, by the state in connection with the
20           'Colorado Medical Assistance Act" and, intending to defraud the state,
            ~akes o~ delivers the r~ceipt without completely k:nowing that the
21          mformat10n on the receipt is true;
22          Knowingly buys or receives as a pledge of an obligation or debt,
            public property from an officer or emp1oyee of the state in connection
23          with the "Colorado Medical Assistance Act" who lawfully may not
            sell or pledge the property;
24
            Knowingly makes, uses, or causes to be made or used, a false record or
25          statement material to an obligation to pay or transmit money or
            property to the state in connection with the "Colorado Medical
26          Ass~stance Act", or knowi!lglY. conceals or knowif!gly and improperly
            av01ds or decreases an obhgat10n to pay or transmit money or propert¥
27          to the state in connection with the "Colorado Medical Assistance Act; '
28
                                           -112-
                         First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 51 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 113 of 130


 1            Conspi~es to commit a violation of paragraphs (a) to (f) of this
              subsect10n.
 2

 3            459. Medtronic violated Colorado Revised Statutes§ 25.5-4-305 from at
 4     least 2001 to the present by engaging in the fraudulent and illegal practices
 5     described herein.
 6            460. Medtronic furthermore violated Colorado Revised Statutes§ 25.5-4-
 7     305 and knowingly caused thousands of false claims to be made, used and
 8     presented to the State of Colorado from at least 2001 to the present by its violation
 9     of federal and state laws, including the Anti-Kickback Act, and the Stark Act, as
1O     described herein.
11            461. The State of Colorado, by and through the State of Colorado Medicaid
12     program and other state health care programs, and unaware of Medtronic's
13     fraudulent and illegal practices, paid the claims submitted by health care providers
14     and third payers in connection therewith.
15            462. Compliance with applicable Medicare, Medicaid and the various other
16     federal and state laws cited herein was an implied, and upon information and belief,
17     also an express condition of payment of claims submitted to the State of Colorado
18     in connection with Medtronic's fraudulent and illegal practices.
19           463. Had the State of Colorado known that Medtronic was violating the
20     federal and state laws cited herein, it would not have paid the claims submitted by
21     health care providers and third party payers in connection with Medtronic' s
22     fraudulent and illegal practices.
23           464. As a result of Medtronic's violations of Colorado Revised Statutes §
24     25.5-4-305 the State of Colorado has been damaged in an amount far in excess of
25     millions of dollars exclusive of interest.
26           465. Relator Adolfo Schroeder, has direct and independent knowledge of
27    the allegations of this Complaint, has brought this action pursuant to Colorado
28    Revised Statutes§ 25.5-4-306(2) on behalf of himself and the State of Colorado.
                                             -113-
                           First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 52 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 114 of 130


 1           466. This Court is requested to accept supplemental jurisdiction of this
 2     related state claim as it is predicated upon the exact same facts as the federal claim,
 3     and merely asserts separate damage to the State of Colorado in the operation of its
 4     Medicaid program.
 5           467. WHEREFORE, Relator respectfully requests this Court to award the
 6     following damages to the following parties and against Medtronic:
 7           To the STATE OF COLORADO:
 8           Three times the amount of actual damages which the State of Colorado has
 9     sustained as a result of Medtronic' s fraudulent and illegal practices;
10           A civil penalty of not less than $5,500 and not more than $11,000 for each
11     false claim which Medtronic caused to be presented to the State of Colorado;
12           Prejudgment interest; and
13           All costs incmTed in bringing this action.
14           To RELATOR:
15           The maximum amount allowed pursuant to Colorado Revised Statutes §
16     25.5-4-306(4) and /or any other applicable provision of law;
17           Reimbursement for reasonable expenses which Relator incun-ed in
18     connection with this action;
19           An award of reasonable attorneys' fees and costs; and
20           Such further relief as this court deems equitable and just.
21                                    COUNT THIRTY-ONE
22         VIOLATION OF THE CONNECTICUT FALSE CLAIMS ACT FOR
23                          MEDICAL ASSISTANCE PROGRAMS
24           468. Relator re-alleges and incorporate the allegations in paragraphs 1-467
25    as if fully set forth herein. Additionally, Relator states that the course of conduct
26    described in this Complaint was a nationwide practice of Medtronic. Medtronic
27    conducts business in the State of Connecticut. Upon information and belief,
28    Medtronic' s actions described herein occun-ed in the State of Connecticut as well.
                                             -114-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 53 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 115 of 130


 1           469. This is a qui tam action brought by Relator and the State of
 2     Connecticut to recover treble damages and civil penalties under the Connecticut
 3     False Claims Act for Medical Assistance Programs, Connecticut General Statutes §
 4     17b-301 b. et seq.
 5           470. Connecticut General Statutes§ 17b-301b. provides liability for any
 6     person who-
 7           Knowingly presents or causes to be presented to an officer or
             employee of the state a false or fraudulent claim for payment or
 8           (lpproval under a medical assistance program admimstered by the
             Department of Social Services;
 9
             Knowingly make, use or cause to be made or used, a false record or
10           statement to secure the payment or approval by the state of a false or
             fraudulent claim under a medical assistance program administered by
11           the Department of Social Services;
12           Conspire to defraud the state by securing the allowance or payment of
             a false or fraudulent claim under a medical assistance program
13           administered by the Department of Social Services;
14
             471. Medtronic violated Connecticut General Statutes§ 17b-30lb from at
15
       least 2001 to the present by engaging in the fraudulent and illegal practices
16
       described herein.
17
             472. Medtronic furthermore violated Connecticut General Statutes§ l 7b-
18
       301 b and knowingly caused thousands of false claims to be made, used and
19
       presented to the State of Connecticut from at least 2001 to the present by its
20
       violation of federal and state laws, including the Anti-Kickback Act, and the Stark
21
       Act, as described herein.
22
             4 73. The State of Connecticut, by and through the State of Connecticut
23
       Medicaid program and other state health care programs, and unaware of
24
       Medtronic's fraudulent and illegal practices, paid the claims submitted by health
25
       care providers and third payers in connection therewith.
26
             474. Compliance with applicable Medicare, Medicaid and the various other
27
       federal and state laws cited herein was an implied, and upon information and belief,
28

                                              -115-
                            First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 54 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 116 of 130


 1     also an express condition of payment of claims submitted to the State of
 2     Connecticut in connection with Medtronic's fraudulent and illegal practices.
 3           475. Had the State of Connecticut known that Medtronic was violating the
 4     federal and state laws cited herein, it would not have paid the claims submitted by
 5     health care providers and third party payers in connection with Medtronic' s
 6     fraudulent and illegal practices.
 7           476. As a result ofMedtronic's violations of Connecticut General Statutes§
 8     l 7b-30lb the State of Connecticut has been damaged in an amount far in excess of
 9     millions of dollars exclusive of interest.
1O           4 77. Relator Adolfo Schroeder has direct and independent knowledge of the
11     allegations of this Complaint, who have brought this action pursuant to Connecticut
12     General Statutes § 17b-301 d on behalf of himself and the State of Connecticut.
13           478. This Court is requested to accept supplemental jurisdiction of this
14     related state claim as it is predicated upon the exact same facts as the federal claim,
15     and merely asserts separate damage to the State of Connecticut in the operation of
16     its Medicaid program.
17           479. WHEREFORE, Relator respectfully requests this Court to award the
18     following damages to the following parties and against Medtronic:
19           To the STATE OF CONNECTICUT:
20           Three times the amount of actual damages which the State of Connecticut has
21     sustained as a result of Medtronic' s fraudulent and illegal practices;
22           A civil penalty of not less than $5,000 and not more than $10,000 for each
23    false claim which Medtronic caused to be presented to the State of Connecticut;
24           Prejudgment interest; and
25           All costs incurred in bringing this action.
26           To RELA TOR:
27           The maximum amount allowed pursuant to Connecticut General Statutes §
28     l 7b-30 I and /or any other applicable provision of law;
                                            -116-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 55 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 117 of 130


 1           Reimbursement for reasonable expenses which Relator incurred in
 2    connection with this action;
 3           An award of reasonable attorneys' fees and costs; and
 4           Such further relief as this court deems equitable and just.
 5                                   COUNT THIRTY-TWO
 6           VIOLATION OF THE MARYLAND MEDICAID FALSE CLAIMS
 7             AGAINST STATE HEALTH PLANS AND STATE HEALTH
 8                                     PROGRAMS ACT
 9           480. Relator re-alleges and incorporate the allegations in paragraphs 1-479
10    as if fully set forth herein. Additionally, Relator states that the course of conduct
11    described in this Complaint was a nationwide practice of Medtronic. Medtronic
12    conduct business in the State of Maryland. Upon information and belief,
13    Medtronic'a actions described herein occurred in the State of Maryland as well.
14           481. This is a qui tarn action brought by Relator and the State of Maryland
15    to recover treble damages and civil penalties under the Maryland Medicaid False
16    Claims Against State Health Plans and State Health Programs Act, Annotated Code
17    of Maryland§ 2-601 et seq.
18           482. Annotated Code of Maryland § 2-602 provides liability for any person
19    who-
20           Kn9wingly presents or causes to be presented a false or fraudulent
             claim for payment or approval;
21
             Knowingly makes, uses,< or causes to be made or used a false record or
22           statement material to a ralse or fraudulent claim;
23           Conspires to commit a violation under this subtitle;
             Has possession, custody, or control of money or other prope1iy used by
24           or on behalf of the State under a State health plan or a State health
             program and knowingly delivers or causes to be delivered to the State
25           less than all of that money or other property;
26           Knowingly makes any other false or fraudulent claim against a State
             health plan or a State health program.
27

28

                                           -117-
                         First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 56 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 118 of 130


             483. Medtronic violated the Annotated Code of Maryland§ 2-602 from at
 2     least 2001 to the present by engaging in the fraudulent and illegal practices
 3     described herein.
 4           484. Medtronic furthermore violated the Annotated Code of Maryland§ 2-
 5     602 and knowingly caused thousands of false claims to be made, used and
 6     presented to the State of Maryland from at least 2001 to the present by its violation
 7     of federal and state laws, including the Anti-Kickback Act, and the Stark Act, as
 8     described herein.
 9           485. The State of Maryland, by and through the State of Maryland
1O     Medicaid program and other state health care programs, and unaware of
11     Medtronic's fraudulent and illegal practices, paid the claims submitted by health
12     care providers and third payers in connection therewith.
13           486. Compliance with applicable Medicare, Medicaid and the various other
14     federal and state laws cited herein was an implied, and upon information and belief,
15     also an express condition of payment of claims submitted to the State of Maryland
16     in connection with Medtronic' s fraudulent and illegal practices.
17           487. Had the State of Maryland known that Medtronic was violating the
18     federal and state laws cited herein, it would not have paid the claims submitted by
19    health care providers and third party payers in connection with Medtronic' s
20    fraudulent and illegal practices.
21           488. As a result of Medtronic's violations of the Annotated Code of
22    Maryland § 2-602 the State of Maryland has been damaged in an amount far in
23    excess of millions of dollars exclusive of interest.
24           489. Relator Adolfo Schroeder has direct and independent knowledge of the
25    allegations of this Complaint, who have brought this action pursuant to the
26    Annotated Code of Maryland § 2-604 on behalf of himself and the State of
27    Maryland.
28

                                              -118-
                           First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 57 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 119 of 130


 1          490. This Court is requested to accept supplemental jurisdiction of this
 2    related state claim as it is predicated upon the exact same facts as the federal claim,
 3    and merely asserts separate damage to the State of Maryland in the operation of its
 4    Medicaid program.
 5          491. WHEREFORE, Relator respectfully requests this Court to award the
 6    following damages to the following parties and against Medtronic:
 7          To the STATE OF MARYLAND:
 8          Three times the amount of actual damages which the State of Maryland has
 9    sustained as a result of Medtronic' s fraudulent and illegal practices;
1O          A civil penalty of not less than the amount of the actual damages the State
11    health plan or State health program incurs as a result of the violation, and not more
12    than $10,000 for each false claim which Medtronic caused to be presented to the
13    State of Maryland;
14          Prejudgment interest; and
15          All costs incuned in bringing this action.
16          To RELATOR:
17          The maximum amount allowed pursuant to the Annotated Code of Maryland
18    § 2-605 and /or any other applicable provision of law;
19          Reimbursement for reasonable expenses which Relator incuned in
20    connection with this action;
21          An award of reasonable attorneys' fees and costs; and
22          Such further relief as this court deems equitable and just.
23                                  COUNT THIRTY-THREE
24          VIOLATION OF THE WASHINGTON MEDICAID FRAUD ACT
25          492. Relator re-alleges and incorporate the allegations in paragraphs 1-491
26    as if fully set forth herein. Additionally, Relator states that the course of conduct
27    described in this Complaint was a nationwide practice of Medtronic. Medtronic
28

                                             -119-
                           First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 58 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 120 of 130


 1     conduct business in the State of Washington. Upon information and belief,
 2     Medtronic's actions described herein occmTed in the State of Washington as well.
 3           493. This is a qui tam action brought by Relator and the State of
 4     Washington to recover treble damages and civil penalties under the Washington
 5     False Claims Act, Washington Revised Code§ 74 66-005 et seq.
 6           494. Washington Revised Code§ 74 66-020 provides liability for any
 7     person who-
                    Knowingly presents, or causes to be rresented, a false or
 8               fraudulent Claim for payment or approval;
 9                  Knowingly makes, uses, or causes to be made or used, a false
                 record or statement material to a false or fraudulent claim;
10
                    Conspires to commit one or more of the violations in this
11               subsection.
12           495. Medtronic violated Washington Revised Code§ 74 66-020 from at
13     ]east 2001 to the present by engaging in the fraudulent and illegal practices
14     described herein.
15           496. Medtronic furthermore violated Washington Revised Code§ 74 66-
16     020 and knowingly caused thousands of false claims to be made, used and
17     presented to the State of Washington from at least 2001 to the present by its
18     violation of federal and state laws, including the Anti-Kickback Act, and the Stark
19     Act, as described herein.
20           497. The State of Washington, by and through the State of Washington
21    Medicaid program and other state health care programs, and unaware of
22    Medtronic' s fraudulent and illegal practices, paid the claims submitted by health
23    care providers and third payers in connection therewith.
24           498. Compliance with applicable Medicare, Medicaid and the various other
25    federal and state laws cited herein was an implied, and upon information and belief,
26    also an express condition of payment of claims submitted to the State of
27    Washington in connection with Medtronic's fraudulent and illegal practices.
28

                                             -120-
                           First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 59 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 121 of 130

 1           499. Had the State of Washington known that Medtronic was violating the
 2     federal and state laws cited herein, it would not have paid the claims submitted by
 3     health care providers and third party payers in connection with Medtronic' s
 4     fraudulent and illegal practices.
 5           500. As a result ofMedtronic's violations of Washington Revised Code§
 6     74 66-020 the State of Washington has been damaged in an amount far in excess of
 7    millions of dollars exclusive of interest.
 8           501. Relator Adolfo Schroeder has direct and independent knowledge of the
 9     allegations of this Complaint, who have brought this action pursuant to Washington
1O    Revised Code§ 74 66-050 on behalf of himself and the State of Washington.
11           502. This Court is requested to accept supplemental jurisdiction of this
12    related state claim as it is predicated upon the exact same facts as the federal claim,
13    and merely asserts separate damage to the State of Washington in the operation of
14    its Medicaid program.
15           503. WHEREFORE, Relator respectfully requests this Court to award the
16    following damages to the following parties and against Medtronic:
17           To the STATE OF WASHINGTON:
18           Three times the amount of actual damages which the State of Washington has
19    sustained as a result of Medtronic' s fraudulent and illegal practices;
20           A civil penalty of not less than $5,500, and not more than $11,000 for each
21    false claim which Medtronic caused to be presented to the State of Washington;
22           Prejudgment interest; and
23           All costs incurred in bringing this action.
24           To RELATOR:
25           The maximum amount allowed pursuant to Washington Revised Code§ 74
26    66-070 and /or any other applicable provision of law;
27           Reimbursement for reasonable expenses which Relator incurred in
28    connection with this action;
                                            -121-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 60 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 122 of 130


 1           An award of reasonable attorneys' fees and costs; and
 2            Such further relief as this court deems equitable and just.
 3                                   COUNT THIRTY-FOUR
 4          VIOLATION OF THE NORTH CAROLINA FALSE CLAIMS ACT
 5        504.       Relator re-alleges and incorporate the allegations in the above
 6     paragraphs as if fully set forth herein. Additionally, Relator states that the course of
 7     conduct described in this Complaint was a nationwide practice of Medtronic.
 8     Medtronic conduct business in the State of North Carolina. Upon information and
 9     belief, Medtronic's actions described herein occurred in the State of North Carolina
10     as well.
11        505.       This is a qui tam action brought by Relator and the State of North
12     Carolina to recover treble damages and civil penalties under the North Carolina
13     False Claims Act, North Carolina General Statutes§ 51-1-605 et seq.
14           506. North Carolina General Statutes § 51-1-607 provides liability for any
15     person who-
16
                  Kn9wingly presents or causes to be presented a false or fraudulent
17                clann for payment or approval
18                Knowingly makes, uses, or causes to be made or used, a false record
                  or statement material to a false or fraudulent claim;
19
                  Conspires to commit a violation of subdivisions of this section.
20

21           507. Medtronic violated North Carolina General Statutes § 51-1-607 from
22     at least 2001 to the present by engaging in the fraudulent and illegal practices
23     described herein.
24           508. Medtronic furthermore violated North Carolina General Statutes § 51-
25     1-607 and knowingly caused thousands of false claims to be made, used and
26    presented to the State of North Carolina from at least 2001 to the present by its
27    violation of federal and state laws, including the Anti-Kickback Act, and the Stark
28    Act, as described herein.
                                              -122-
                           First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 61 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 123 of 130


 1           509. The State of North Carolina, by and through the State of North
 2     Carolina Medicaid program and other state health care programs, and unaware of
 3     Medtronic's fraudulent and illegal practices, paid the claims submitted by health
 4    care providers and third payers in connection therewith.
 5           510. Compliance with applicable Medicare, Medicaid and the various other
 6    federal and state laws cited herein was an implied, and upon information and belief,
 7    also an express condition of payment of claims submitted to the State of North
 8    Carolina in connection with Medtronic's fraudulent and illegal practices.
 9           511. Had the State of North Carolina known that Medtronic was violating
1O    the federal and state laws cited herein, it would not have paid the claims submitted
11    by health care providers and third party payers in connection with Medtronic' s
12    fraudulent and illegal practices.
13           512. As a result of Medtronic's violations of North Carolina General
14    Statutes§ 51-1-607 the State of North Carolina has been damaged in an amount far
15    in excess of millions of dollars exclusive of interest.
16           513. Relator Adolfo Schroeder has direct and independent knowledge of the
17    allegations of this Complaint, who have brought this action pursuant to North
18    Carolina General Statutes§ 51-1-608 on behalf of himself and the State of North
19    Carolina.
20           514. This Court is requested to accept supplemental jurisdiction of this
21    related state claim as it is predicated upon the exact same facts as the federal claim,
22    and merely asserts separate damage to the State of North Carolina in the operation
23    of its Medicaid program.
24           515. WHEREFORE, Relator respectfully requests this Court to award the
25    following damages to the following parties and against Medtronic:
26           To the STATE OF NORTH CAROLINA:
27           Three times the amount of actual damages which the State of North Carolina
28    has sustained as a result of Medtronic's fraudulent and illegal practices;
                                           -123-
                         First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 62 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 124 of 130


              A civil penalty of not less than $5,500, and not more than $11,000 for each
 2    false claim which Medtronic caused to be presented to the State of North Carolina;
 3            Prejudgment interest; and
 4            All costs incurred in bringing this action.
 5            To RELATOR:
 6            The maximum amount allowed pursuant to North Carolina General Statutes§
 7    51-1-610 and /or any other applicable provision of law;
 8            Reimbursement for reasonable expenses which Relator incurred in
 9    connection with this action;
10            An award of reasonable attorneys' fees and costs; and
11            Such further relief as this court deems equitable and just.
12                                   COUNT THIRTY-FIVE
13              VIOLATION OF THE MINNESOTA FALSE CLAIMS ACT
14            516. Relator re-alleges and incorporate the allegations in the above
15    paragraphs as if fully set forth herein. Additionally, Relator states that the course of
16    conduct described in this Complaint was a nationwide practice of Medtronic.
17    Medtronic conduct business in the State of Minnesota. Upon information and
18    belief, Medtronic's actions described herein occurred in the State of Minnesota as
19    well.
20            517. This is a qui tam action brought by Relator and the State of Minnesota
21    to recover treble damages and civil penalties under the Minnesota False Claims Act,
22    Minnesota Statutes§ 15C.Ol et seq.
23            518. Minnesota Statutes § l 5C.02 provides liability for any person who-
24               Knowingly rresents, or causes to be 2resented, to an officer or
                 employee o the state or a political subdivision a false or fraudulent
25               clann for payment or approval;
26               Knowingly makes or uses, or causes to be made or used, a false record
                 or statement to get a false or fraudulent claim paid or approved by the
27               state or a political subdivision;
28

                                            -124-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 63 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 125 of 130


 1              Knowingly conspires to either present a false or fraudulent claim to
                the state or a political subdivis10n for payment or approval or makes,
 2              uses 1 or causes to be made or used a false record or statement to
                obtam payment or approval of a false or fraudulent claim.
 3

 4           519. Medtronic violated Minnesota Statutes § l 5C.02 from at least 2001 to
 5     the present by engaging in the fraudulent and illegal practices described herein.
 6           520. Medtronic furthermore violated Minnesota Statutes § 15C.02 and
 7     knowingly caused thousands of false claims to be made, used and presented to the
 8     State of Minnesota from at least 2001 to the present by its violation of federal and
 9     state laws, including the Anti-Kickback Act, and the Stark Act, as described herein.
10           521. The State of Minnesota, by and through the State of Minnesota
11     Medicaid program and other state health care programs, and unaware of
12     Medtronic' s fraudulent and illegal practices, paid the claims submitted by health
13     care providers and third payers in connection therewith.
14           522. Compliance with applicable Medicare, Medicaid and the various other
15     federal and state laws cited herein was an implied, and upon information and belief,
16     also an express condition of payment of claims submitted to the State of Minnesota
17     in connection with Medtronic's fraudulent and illegal practices.
18           523. Had the State of Minnesota known that Medtronic was violating the
19     federal and state laws cited herein, it would not have paid the claims submitted by
20    health care providers and third party payers in connection with Medtronic' s
21    fraudulent and illegal practices.
22           524. As a result ofMedtronic's violations of Minnesota Statutes§ 15C.02
23    the State of Minnesota has been damaged in an amount far in excess of millions of
24    dollars exclusive of interest.
25           525. Relator Adolfo Schroeder. has direct and independent knowledge of
26    the allegations of this Complaint, who have brought this action pursuant to
27    Minnesota Statutes § 15C. 05 on behalf of himself and the State of Minnesota.
28

                                            -125-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 64 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 126 of 130


 1            526. This Court is requested to accept supplemental jurisdiction of this
 2     related state claim as it is predicated upon the exact same facts as the federal claim,
 3     and merely asserts separate damage to the State of Minnesota in the operation of its
 4     Medicaid program.
 5           527. WHEREFORE, Relator respectfully requests this Court to award the
 6     following damages to the following parties and against Medtronic:
 7           To the STATE OF MINNESOTA:
 8           Three times the amount of actual damages which the State of Minnesota has
 9     sustained as a result of Medtronic' s fraudulent and illegal practices;
10           A civil penalty of not less than $5,500, and not more than $11,000 for each
11     false claim which Medtronic caused to be presented to the State of Minnesota;
12           Prejudgment interest; and
13           All costs incurred in bringing this action.
14           To RELATOR:
15           The maximum amount allowed pursuant to Minnesota Statutes§ 15C.12
16     and/or any other applicable provision of law;
17           Reimbursement for reasonable expenses which Relator incurred in
18     connection with this action;
19           An award of reasonable attorneys' fees and costs; and
20           Such further relief as this court deems equitable and just.
21                                 REQUESTS FOR RELIEF
22           WHEREFORE, the Relator, on behalf of the UNITED STATES, demands
23     that judgment be entered in its favor and against }..1edtronic, with judgment to be
24     entered against Medtronic for the amount of damages to the States' Medicaid
25     Programs arising (a) from claims for each MEDTRONIC'S respective specified
26     drugs and (b) jointly and severally with such other Medtronic for damages as set
27    forth in each paragraph above and herein, as follows:
28

                                             -126-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 65 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 127 of 130


 1           1.    On Count I (False Claims Act; Causing Presentation of False Claims)
 2     for triple the amount of the UNITED STA TES' damages, plus civil penalties of no
 3     more than ten Thousand Dollars ($10,000.00) and no less than FIVE THOUSAND
 4     DOLLARS ($5,000.00) for each false claim;
 5           2.    On Count II (False Claims Act; Causing False Statements To Be Used
 6     To Get False Claims Paid Or Approved By The GOVERNMENT) for triple the
 7     amount of UNITED STATES' damages plus civil penalties of no more than TEN
 8     THOUSAND DOLLARS ($10,000.00) and no less than FIVE THOUSAND
 9     DOLLARS ($5,000.00) for each false statement;
10           3.    On Count III (False Claims Act; Causing False Statements To Be Used
11     To Conceal An Obligation To Pay Money To The GOVERNMENT) for triple
12     amount of the UNITES STATES' damages plus civil penalties of no more than
13    TEN THOUSAND DOLLARS ($10,000.00) and no less than FIVE THOUSAND
14    DOLLARS ($5,000.00) for each false or fraudulent claim paid;
15           4.    On Count IV (False Claims Act; Causing Presentation of False And
16    Fraudulent Claims; Illegal Remuneration) for triple amount of the UNITES
17    STATES' damages plus civil penalties of no more than TEN THOUSAND
18    DOLLARS ($10,000.00) and no less than FIVE THOUSAND DOLLARS
19    ($5,000.00) for each false claim;
20           5.    On Count V (False Claims Act; Causing A False Record Or Statement
21    To Be Made Or Used To Get A False Or Fraudulent Claim Paid Or Approved By
22    The Government; Prohibited Referrals, Claims, and Compensation Arrangements)
23    for triple amount of the UNITES ST,D... TES' damages plus civil penalties of no more
24    than TEN THOUSAND DOLLARS ($10,000.00) and no less than FIVE
25    THOUSAND DOLLARS ($5,000.00) for each false statement;
26          6.     On Count VI (False Claims Act; Conspiring To Defraud The
27    Government By Getting A False Or Fraudulent Claim Allowed Or Paid) for triple
28    amount of the UNITES STATES' damages plus civil penalties of no more than
                                          -127-
                        First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 66 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 128 of 130


 1     TEN THOUSAND DOLLARS ($10,000.00) and no less than FIVE THOUSAND
 2     DOLLARS ($5,000.00) for each false record or statement.
 3            Further, the Relator, on his behalf, requests that it receive the maximum
 4     amount as permitted by the law, of the proceeds of this action or settlement of this
 5     action collected by the UNITED STATES, plus an amount for reasonable expenses
 6     incurred, plus reasonable attorneys' fees and costs of this action. The Relator
 7     requests that his award be based upon the total value recovered, both tangible and
 8     intangible, including any amounts received from individuals or entities not pmiies
 9     to this action.
10                                DEMAND FOR JURY TRIAL
11     Relator hereby demands a jury trial.
12

13
       Dated: November 7, 2013          UNITED STATES OF AMERICA,
14                                      ex rel. Relator
15

16

17                                              ershaw Cutter & Ratinoff, LLP
                                              C. Brooks Cutter
18                                            John. R. Parker, Jr.
                                              40 I Watt A venue
19                                            Sacramento, CA 95864
                                              Tel. 916-448-9800
20                                            Fax. 916-669-4499
21
                                               Mychal Wilson
22                                             The Law Offices of Mychal Wilson
                                               1875 Century Park East, 6th Floor
23
                                               Los Angeles, CA 90067
24                                             Telephone: (310) 407-5380
                                               Facsimile: (310) 424-7116
25
                                              ATTORNEYS FOR RELATOR ADOLFO
26                                            SCHROEDER
27

28

                                            -128-
                          First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 67 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 129 of 130


 1                                         PROOF OF SERVICE
 2             I am employed in the County of Sacramento. I am over the age of eighteen years and not
       a party to the within entitle action; my business address is Kershaw, Cutter & Ratinoff, LLP, 401
 3     Watt Avenue, Sacramento, California 95864.
 4            On the date below, I served a copy of the following document(s) described as FIRST
      AMENDED COMPLAINT AND JURY TRIAL DEMAND on the interested party(ies) in this
 5    action as follows: SEE ATTACHED SERVICE LIST.
 6        x      BY MAIL: By placing a true copy thereof enclosed in a sealed envelope(s) addresses
                 as above or on the service list, and placing each for collection and mailing on that date
 7               following ordinary business practices. I am "readily familiar" with the business'
                 practice for collecting and processing correspondence for mailing. On the same day
 8               that correspondence is placed for collection and mailing, it is deposited in the ordinary
                 course of business with the U.S. Postal Service in Sacramento, California, in a sealed
 9               envelope with postage fully prepaid
10
         x      BY OVERNIGHT DELIVERY: I enclosed the document(s) in an envelope or
11              package provided by an overnight delivery carrier and addressed as above or on the
                service list. I placed the envelope or package for collection and overnight delivery at I
12              an office or a regularly utilized drop box of the overnight delivery carrier.             i
                BY FACSIMILE: Based on an agreement of the parties to accept service by fax '
13
                transmission, I faxed the document(s) to the person(s) at the fax number(s) listed above
                or on the service list on the date above at approximately                  a.m./p.m. The
14
                telephone number of the sending facsimile machine was (916) 669-4499. The sending
                facsimile machine issued a transmission reporting confirming that the transmission was
15              complete and without error. A copy of that report is attached.
16              BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
                agreement of the paiiies to accept service by e-mail or electronic transmission, I caused
17              the document(s) to be sent from asotuela@Jlcrlegal.com to the person(s) at the e-mail
                address( es) listed above or on the service list.
18              BY PERSONAL SERVICE: I caused the above documents to be hand delivered to
                the party(ies) listed above or on the service list.
19
         x      STATE: I declare under penalty of perjury under the laws of the State of California
20              that the foregoing is true and correct.
                FEDERAL: I declare that I am employed in the office of a member of the bar of this           1

21              Court at whose direction the service was made. I declare under penalty of perjury
                under the laws of the United State of America that the foregoing is true and correct.
22
              Executed on Thursday, November 07, 2013, at Sacramento, California.
23

24    Ana Marie Sotuela
25

26
27

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                                              -129-
                            First Amended Complaint and Demand for Jury Trial
       Case 5:15-cv-06264-EGS Document 64-14 Filed 11/17/17 Page 68 of 68
     Case 2:09-cv-00279-WBS-EFB Document 64 Filed 11/07/13 Page 130 of 130


 1

 2                                         SERVICE LIST
 3
      Benjamine B. Wagner, United State Attorney   Adam Schartz
 4    Catherine J. Swann, Assistant US Attomye     Department of Justice
      Office of the United States                  Civil Division
 5    501 I Street, 10th Floor                     Commerical Ligiation Branch
      Sacramento, CA 95814                         Post Office Box 261
 6    Tel.: 916.554.2762                           Benjamin Franklin Station
      Fax: 916.554.2900                            Washington, DC 20044
 7                                                 Tel.: 202.514.6831
      Served by Overnight Mail                     Fax: 202.514.0280
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                                            -130-
                          First Amended Complaint and Demand for Jury Trial
